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GAGE DECLARATION
   EXHIBIT 26
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                      Alison Ray
                      Director of Sales– Liberty States
                  Alison has over 26 years of wireless industry experience. She began her career at AT&T in 1994 as
Director of Business Development for Comcast Cellular. In 1999, she became Director of Marketing when SBC
purchased Comcast. In 2010, Alison became Director of Sales Operations and took over the Indirect Sales Director
position in 2011, leading both National Retail and Local Dealer Distribution. In January 2014, Alison was given sole
responsibility to lead the Authorized Retailer team. Today, Alison is responsible for 122 AT&T Retail, Authorized
Retail and National Retail locations in Southeastern PA. Alison graduated from Drexel University with a BS in Business
Administration, double majoring in Marketing/Operations Management and earned a Master’s degree from Penn
State University. Alison previously served as a mentor in the RMDP Program and currently sits on the Board for the
Women of AT&T-Philadelphia. She is also a two-time Summit Winner (Regional President's Choice). Alison lives in
Collegeville, PA with her husband Paul and 2 dogs. She is an avid golfer and enjoys photography.




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GAGE DECLARATION
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALISON RAY
     Collegeville, PA 19426,
                                                          No. 2:18-cv-03303-TR
Plaintiff,
                                                          Magistrate Judge Timothy R. Rice
v.

AT&T MOBILITY SERVICES LLC.
     l025 Lenox Park Blvd., NE.
     Atlanta, GA 30319,

Defendant.


                                  Declaration of Kyle Mundis

        l.    1 am a Human Resources Business Partner at AT&T. For roughly the past three

years, I have been responsible for providing human resources support to the Ohio/Pennsy lvania

Market of AT&T Mobil ity Sales and Services. I submit this declaration in support of AT&T

Mobility Services LLC ' s cross-motion for pattial summary judgment in the above-captioned

matter. T have personal knowledge of the facts contained in this declaration and if called to

testify under oath, I cou ld and would testify competently to them. I have reviewed Exhibit 1 to

the Declaration of Alison Ray submitted in connection with the above-captioned matter.

        2.     Alison Ray was a Director of Sales from September 2011 through January 15,

2018. Ms. Ray had responsibility over various retail locations in Southeastern Pennsylvania, a

territory within the Ohio/Pennsylvania Market of AT&T Mobility Sales and Services. As of

November 16, 2017, the Ohio/Pennsylvania Market was part of the East Region of Mobility

Retail Sales and Services, led by Region President Jennifer Van Buskirk. Throughout this

declaration, 1 refer to the East Region of Mobility Sales and Services as the "East Region ."




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        3.      Prior to Novetnber 16, 2017, AT&T engaged in a decision-making process to

select employees in the East Region of Mobility Sales and Services for participation in an

employment surplus program. Throughout this declaration, I refer to this decision-making

process as the "Restructuring." The Restructuring was assigned the Business Case JD 17-350.

       4.       Prior to the Restructuring, Jennifer Van Buskirk was the President of the

Northeast Region of Mobility Retail Sales and Services. On August 17, 2017, Ms. Van Buskirk

announced via email that the Northeast Region (which included the Ohio/Pennsylvania Market)

was consolidating with the Heartland States, Georgia/South Carolina, and Florida markets to

form the "East Region." That email announcement is attached to this declaration as Exhibit A.

Ms. Van Buskirk sent the email to the employees in the East Region and s igned it under her new

title: " Pres ident - East Region." Ex. A.

        5.      On August 17, 201 7, AT&T announced the formation of the East Region to

employees in the East Region, stating that "Jennifer Van Buskirk, Region President- Northeast

will now be Region President - East." That email announcement is attached to this declaratio n

as Exhibit B. The email also confirmed that going forward, the Vice Presidents and General

Managers responsible for the Heartland States. Georgia/South Carolina, and Florida markets

would report to Ms. Van Buskirk.

        6.      Company documents that employees in the East Region commonly interacted

with in the normal course of business identified them as part of the East Region of Mobility

Retail Sales and Services. For example, Alison Ray's "People Profile" in the company directory

identified her as a "DlRECTOR OF SALES" in the "RETAIL SLS & SVC- PA/OH'' market,

within the "MOBILITY RTL SLS & SVC- EAST REG." A copy of a relevant excerpt of Ms.

Ray' s People Profile is attached to this declaration as Exhibit C.




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       7.      The purpose of the Restructuring was to reduce layers and increase operational

efficiencies in the East Region. To achieve this goal, the East Region was tasked with ensuring

that each manager had at least I0 employees directly reporting to her or him.       Prior to the

Restructuring, many managers in the East Region had fewer than 10 direct reports.

       8.      Employees in the East Region were asked whether they had an interest in leaving

the company.

       9.      As part ofthe Restructuring, AT&T identified Affected Work Groups ("AWGs")

in the East Region for reduction, which were comprised of employees in the same or similar j ob

titles who shared similar characteristics (e.g., sharing common managers or being responsible for

geographic areas proximate to other employees in the same A WG).

       10.     There were 36 A WGs in the East Region for the purposes of the Restructuring,

which collectively comprised the Decisional Unit.

       ll.     A lison Ray was in A WG 12, which was comprised of the employees in the

Director of Sales position who were responsible for territories in what was called the

Ohio/Pennsylvania market.

       12.     There were eight Directors of Sales in A WG 12. Based on its review of the East

Region for the Restructuring, AT&T determined that the number of Director of Sales positions in

A WG 12 would be reduced by two. To that end, these employees were rated by their supervisors,

Alyson Woodard and Judith Cavalieri, in several categories: Performance, Leadership

(comprised of five sub-categories), Skills, and Experience. The supervisors assigned scores of L-

5 to each employee in each category.

       13.     After the rating process, the two Directors of Sales in A WG 12 who received the

lowest numerical scores were selected for participation in the group surplus program and were




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thus p laced on surplus status as of November 16, 20 17. Their positions were accordingly

eliminated.

       14.     A lison Ray was one of the two lowest-ranked Directors of Sales in A WG 12, and

as a result was selected for participation in the group surplus program and placed on surplus

status as ofNovember 16, 20 17. Her position was eliminated. The territory that she covered

was divided among other Directors of Sales.

       15.     On November 16, 2017, AT&T provided to Ms. Ray the Surplus Notification

Letter, a true and accurate copy of which is attached as Exhibit 1 to the Declaration of Alison

Ray submitted in connection with the above-captioned matter. The Surplus Notification Letter

directed Ms. Ray to access several resources on the Mechanized Employee Surplus

Administration ("MESA") website including an "ADEA Listing" generated by the MESA

system. These documents, which I refer to collectively in this declaration as the "Package,"

constituted the company's final offer to Ms. Ray with respect to the severance package she was

offered in exchange for a release of claims. The company d id not make any subsequent offer to

Ms. Ray in this respect.

        16.    AT&T did not provide the Package to any employees in the East Region prior to

November 16,20 17.

       17.     On January 16,2018, Ms. Ray returned the executed General Release and Waiver

provided in the Package. She did not revoke her acceptance. The Company made the severance

payments to Ms. Ray in full. Ms. Ray has not returned any portion of those severance payments.



       l declare under penalty of perjury that the foregoing is true and correct. Executed this   l-\
day of October 20 18, in Dauphin County, Pennsylvania.




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From: Rasesh Patel- AT&T Entertainment Group
Sent: Thursday, August 17,2017 3:18PM
To: Rasesh Patel- AT&T Entertainment Group <g06826@att.com>
Subject: Our Entertainment Group Digital, Retail and Care leadership team




To: All AT&T Entertainment Group Digital, Retail and Care employees



As we stay focused on serving our customers and exceeding our objectives, I wanted
to clarify for you the next level of appointments for our AT&T Entertainment Group
Digital, Retail and Care leadership team. Your leadership may share additional
announcements clarifying roles on their teams.

Thank you for continuing to work together, to be the face and voice of AT&T to our
customers and to deliver on our EG goal of a premium, effortless mobile and
entertainment experience.

- Rasesh

Rasesh Patel
Senior Executive Vice President
Digital, Retail and Care
AT&T Entertainment Group



Sales & Distribution

The following report to Brian Shay, President- Sales & Distribution:

        Jennifer Van Buskirk, Region President- Northeast will now be Region President- East. Jennifer will remain in
        Bedminster, New Jersey. In addition to her current direct reports the following will also report to Jennifer:
               Marvy Moore: Vice President and General Manager - Georgia/South Carolina
               Cristy Swink: Vice President and General Manager- Florida
               Kristi Turner: Vice President and General Manager - Heartland States

        Shelley Goodman- will assume an Interim leadership role for the Central Region. In addition to the current
        Central Region VPGMs, Eric Goldfeld, Vice President and General Manager - Gulf States, will also report to
        Shelley. Shelley will remain in Chicago.




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        'HYLQ0HUULOO9LFH3UHVLGHQW±'LJLWDO6WUDWHJ\([SHULHQFH ([HFXWLRQ'HYLQ¶VWHDPZLOOGULYHRXUGLJLWDOYLVLRQ
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        1LFROH5DIIHUW\9LFH3UHVLGHQW±&XVWRPHU([SHULHQFHDQG2SHUDWLRQV6XSSRUWLVDSSRLQWHG9LFH3UHVLGHQW±
        &XVWRPHU(QDEOHPHQWDQG'LJLWDO7UDQVIRUPDWLRQ1LFROHZLOOOHDGWKHQHZO\IRUPHG&XVWRPHU(QDEOHPHQWDQG
        'LJLWDO7UDQVIRUPDWLRQ3URJUDP7KLVFUHDWHVWKHVWUXFWXUHWRGHOLYHURXUGLJLWDOVWUDWHJ\LQDUDSLGO\FKDQJLQJ
        HQYLURQPHQWWKDWUHTXLUHVDJLOHDQGLQWHJUDWHGH[HFXWLRQRIVHDPOHVVFXVWRPHUH[SHULHQFHV1LFROHZLOOUHPDLQLQ
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        'DYLG.LQJ$VVLVWDQW9LFH3UHVLGHQW±'LJLWDO,QWHOOLJHQFHDQG$GYDQFHG$QDO\WLFV'DYLG¶VWHDPHQDEOHVWKH
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7KHIROORZLQJUHSRUWWR)UDQN+LURQDND6HQLRU9LFH3UHVLGHQW±&XVWRPHU([SHULHQFH $QDO\WLFV

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        ILHOGHGSURGXFWSHUIRUPDQFHQHZSURGXFWFXVWRPHULQWURGXFWLRQDQGPXOWLSODWIRUPDXWRPDWHGWHVWDQG
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        KRZFXVWRPHUVHQJDJHLQWKHVDOHVSURFHVV7KLVSRVLWLRQZLOOEHORFDWHGLQ(O6HJXQGR
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        FDSDELOLWLHVWRDOORZIRUUDSLGLWHUDWLRQRIWHVW WULDOLPSURYHPHQWVDFURVVDQ\FXVWRPHUWRXFKSRLQW7KLVSRVLWLRQ
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         H[HFXWLRQRIRXUSODWIRUPLQWHJUDWLRQWKDWZLOOXQLI\IURQWOLQHFDSDELOLWLHVDFURVVFKDQQHOV0HOLVVDZLOOUHPDLQLQ
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SuccessFactors: People Profile                                  https://performaocemanager4.successfactors.com/sf!liveprofile#/user/...
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                                       ALISON RAY                           State:PA
                                       DIRECTOR OF SALES
                                                                            Country: USA
                                       RETAIL SLS & SVC- PAIOH,
                                       MOBILITY RTL SLS & SVC -
                                       EAST REG
                                       City: KING OF PRUSSIA




          My Profile

          Personal Brand
          Statement                   My Impact

                                      No data




          Employee
          Information                 Job Information                            Personal Insights
                                      Job Title      DIRECTOR OF SALES
                                                                                 No data
                                      Job Key        24601109

                                      Level          3

                                      Skills Pivot
                                      Indicator:

                                      NCS Date       May 16, 1994

                                     Country         USA
                                     Indicator

                                     Company         AT&T Mobility
                                     Name            Services LLC

                                      Business Unit MOBILITY RTL SLS &
                                                    SVC - EAST REG

                                      Department     RETAIL SLS & SVC -
                                                     PA/OH

                                     PayrolliD       00237622



1 of 15                                                                                                        10/24/20 18, 11:59 AM

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GAGE DECLARATION
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 2         FOR THE EASTERN DISTRICT OF PENNSYLVANIA      2                         INDEX
 3                         * * *                         3                        * * *
                                                         4   WITNESS                                   PAGE NO.
 4    DONALD DOLENTI              :
                                                         5   ALISON RAY
                                  :
                                                         6        By Ms. Burke                          6,265
 5                  v.            :                      7        By Mr. Leahy                            223
                                  :                      8                        * * *
 6    AT&T MOBILITY SERVICES, LLC,:                      9                        EXHIBITS
      D/b/a AT&T                  : NO. 18-05077        10                        * * *
  7                                                     11   NO.      DESCRIPTION                      PAGE NO.
                                                        12   Ray-1   Ray Civil Action Complaint             10
  8                       * * *
  9                   October 18, 2019
                                                        13   Ray-2   2017 Performance Goals                22
 10                       * * *
 11                                                     14   Ray-3   Gearing Up for the Cloud, AT&T        46
 12                   Oral deposition of ALISON RAY,                 Tells Its Workers: Adapt,
 13   held in the offices of Karpf, Karpf & Cerutti,    15           Or Else Article
 14   PC, 3331 Street Road, Two Greenwood Square,
                                                        16   Ray-4   7/11/17 Letter to Dangleman re:       55
 15   Suite 128, Bensalem, Pennsylvania 19020,
                                                                     Your AT&T Internal Job Offer
 16   commencing at 10:15 a.m., on the above date,
                                                        17
 17   before Hope Agosto, a Professional Court               Ray-5   Dangleman Application                 55
 18   Reporter and a Notary Public.                     18
 19                                                     19   Ray-6   3/31/17 Letter to Espinosa re:        55
                          *   *   *                     20           Your AT&T Internal Job Offer
 20
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 22                    R&K REPORTING
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                  Court Reporting Services                           Joales A Espinosa
 23                     PO Box 1372                     23
             Levittown, Pennsylvania 19058-1372              Ray-9   Year Over Year Growth                118
 24      Phone (215) 946-7009    Fax (215) 949-1867     24           Spreadsheets



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  1   A P P E A R A N C E S:                            1                         * * *
  2                                                     2                    EXHIBITS CONTINUED
  3           KARPF, KARPF & CERUTTI, PC                3                         * * *
              BY: CHRISTINE E. BURKE, ESQUIRE           4    NO.     DESCRIPTION                     PAGE NO.
  4           3331 Street Road                          5    Ray-10 Dolenti ARSM Coaching Discussion     138
              Two Greenwood Square                      6
              Suite 128                                 7    Ray-11 2017 Fall Director Ops Review         154
  5
                                                                    Alison Ray
              Bensalem, Pennsylvania 19020
                                                        8
  6           (215) 639-0801                                 Ray-12 Director Overview (Alison Ray)        160
              CBurke@karpf-law.com                      9
  7           -- Counsel for the Plaintiff                   Ray-13 2015 My Performance Plan for          162
  8                                                     10          Donald Dolenti
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              BY: WILLIAM J. LEAHY, ESQUIRE             11   Ray-14 4/11/13 Letter to Dolenti re          172
 10           Three Parkway                                         Your AT&T Internal Job Offer
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 11           Suite 1400                                     Ray-15 2017 My Performance Plan for          186
              Philadelphia, Pennsylvania 19102          13          Donald Dolenti
 12           (267) 402-3000
              WLeahy@littler.com                        14   Ray-16 10/11/17 Email re: Rating and         224
 13           -- Counsel for the Defendant                          Ranking with Attachment
 14                                                     15
              CONSOLE MATTIACCI LAW                          Ray-17 10/16/17 Email re: Copy of            226
 15                                                                 20171011.xlsx with Attachment
              BY: DANIEL S. ORLOW, ESQUIRE              16
 16           1525 Locust Street                        17   Ray-18 Complaint for Employment              233
              9th Floor                                             Discrimination
 17           Philadelphia, Pennsylvania 19102          18
              (215) 545-7676                                 Ray-19 10/10/17 Email Chain re: KPI          246
 18           Orlow@consolelaw.com                      19          Market Leaders 2017-10-09
              -- Counsel for the Witness
 19                                                     20   Ray-20 10/9/17 Email Chain re:               248
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                                             ALLISON RAY
                                                                                             Pages 25 to 28
                                              Page 25                                                 Page 27
  1       Q. Could you turn to the second page,           1      Q. And who did you give that to, if
  2   please?                                             2   anyone?
  3       A. (Witness complies with request.)             3      A. It would have been Kyle Mundis, who is
  4       Q. This second page, does that go with          4   our HR manager, and my boss, Judy Cavalieri, my
  5   the first page?                                     5   former boss.
  6       A. Does it go with it?                          6             MS. BURKE: Can you mark the page,
  7       Q. Yes.                                         7          please, Hope?
  8       A. Yes.                                         8                * * *
  9       Q. These are your documents. I'm not            9       (Whereupon, Counsel requested the
 10   familiar with them.                                10       transcript be marked.)
 11       A. Yes.                                        11                * * *
 12       Q. Could you go to the third page,             12   BY MS. BURKE:
 13   please?                                            13      Q. Finally, the last three pages of this
 14       A. Yes.                                        14   document are labeled business case rating and
 15       Q. This says 9-Box, all employees levels       15   ranking categories. Do you see that?
 16   2 through 5 should be assigned a 9-Box rating.     16      A. Yes.
 17   It has performance on the left-hand side and       17      Q. It says this document describes the
 18   leadership on the bottom. Do you see that?         18   categories to be reviewed and assessed by
 19       A. Yes.                                        19   supervisors designated as assessors or raters
 20       Q. What was this for?                          20   during the surplus process.
 21       A. They used this document when they were      21          Do you see that?
 22   assessing high potential employees, and high       22      A. Yes.
 23   potential employees would typically be the ones    23      Q. Instruction or, whatever term you want
 24   that would get promoted. This 9-Box was part of    24   to use, was this particular document, all three


                                              Page 26                                                 Page 28
  1   that process. It was called hi-po, high             1   pages here, Ray 89 through 91, given to you in
  2   potential, and this 9-Box rating would filter       2   connection with the directive for you to rate
  3   into a high potential candidate. Aside from         3   your team members in the fall of 2017?
  4   this with the hi-po designation, an employee had    4      A. Yes.
  5   to indicate whether or not they were mobile in      5      Q. Was this attached to an email?
  6   order to be considered hi-po.                       6      A. Yes.
  7       Q. Meaning willing to relocate?                 7      Q. Beyond this business case rating and
  8       A. Yes.                                         8   ranking carries, which I would agree with you
  9       Q. Is this document provided to you in          9   contains various descriptions or definitions,
 10   connection with the first two pages of this        10   were you given any other instructions that you
 11   exhibit or this was a standalone document that     11   can remember in connection with the rating
 12   you were given otherwise for guidance in           12   process?
 13   potential promotions?                              13      A. Just to use my best judgment.
 14       A. I don't recall if this was sent at the      14      Q. You say that with some emphasis. Is
 15   same time.                                         15   there a reason for that?
 16       Q. At some point in time in either 2016        16      A. Well, I just recall that, you know,
 17   or 2017 were you encouraging Mr. Dolenti to look   17   when I opened up the actual spreadsheet, the
 18   toward a promotion?                                18   performance category, I believe we had to enter
 19       A. Yes.                                        19   their performance rating, and we did not have
 20                                                      20   any performance reviews in 2017. So I called
          Q. Did you ever use the 9-Box for him to
                                                         21   our HR manager and said, what am I supposed to
 21   assess him?
                                                         22   put in here, and he said use your best judgment.
 22       A. Yes.
                                                         23      Q. I'm going to go over the spreadsheet
 23       Q. You actually completed that process?
                                                         24   with you. Okay?
 24       A. Yes.


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                                             ALLISON RAY
                                                                                            Pages 29 to 32
                                              Page 29                                                Page 31
  1      A. Yep.                                         1       A. I had a personal notebook with
  2      Q. When you say HR manager, you're              2   work-related information, but I no longer have
  3   referring to Mundis?                               3   it. I mean, when I got surplused, I got rid of
  4      A. Yes.                                         4   my notebooks. I had no need for them.
  5      Q. We got way off track here, but the           5       Q. Did you know that you were going to
  6   reason why we got to Exhibit Ray-2 to begin        6   sue the company at the time of that surplus?
  7   with, and in particular the last three pages       7       A. Not on the day of my surplus.
  8   which are the business case rating and ranking     8       Q. And the notebook, did you actually
  9   categories, is I was having a discussion with      9   take notes of the rating process?
 10   you about what impact, if any, there may be in    10       A. No.
 11   the rating process based on some of the current   11       Q. Like, for example, anything you had to
 12   ratings in a performance review. Do you           12   say about Don Dolenti or any of his peers?
 13   remember that line of questioning?                13       A. No.
 14      A. Yes.                                        14       Q. So looking at these performance
 15      Q. If you could to Bates stamped Ray 90        15   definitions, you would agree with me that
 16   in Exhibit Ray-2, do you see where it says        16   certain ratings correspond with a point scale.
 17   performance definitions?                          17   Do you see that?
 18      A. Yes.                                        18       A. Yes.
 19      Q. You told me you were given various          19       Q. For example, if someone is fully
 20   definitions and this was part of an employee      20   meets, which you were in your business category,
 21   email that was provided to you, correct?          21   right?
 22      A. Yes.                                        22       A. Uh-huh.
 23      Q. It says consider performance                23       Q. It corresponded a point value of 3,
 24   demonstrated by your employees over time (the     24   right?


                                              Page 30                                                Page 32
  1   last two to three years.)                          1      A. Correct.
  2          Did you see that?                           2      Q. If someone got an exceeds, they would
  3      A. Yes.                                         3   get a higher point scale, 4, right?
  4      Q. In rating your subordinates, did you         4      A. Correct.
  5   understand that you were not supposed to           5      Q. When you were completing the ratings
  6   consider their performance just as it stood in     6   for your employees, did you use this point scale
  7   2017 but to look back for the last two to three    7   in assessing their prior evaluations?
  8   years?                                             8      A. Yes.
  9      A. Did I understand that?                       9      Q. Had you made up your mind one way or
 10      Q. Yes.                                        10   the other when you did Don Dolenti's rating
 11      A. Yes.                                        11   exactly what you were going to give him in
 12      Q. Did you actually do that or did you         12   February of 2018 when the performance
 13   look at their performance as it stood in time?    13   evaluations were to roll out?
 14      A. I don't remember exactly what I did on      14              MR. ORLOW: Objection to form. I
 15   that day that I did it.                           15          don't understand it, but you can
 16      Q. Is there any documents in the whole         16          answer the question if you understand
 17   world that would help you remember?               17          it the question.
 18      A. I don't know.                               18              THE WITNESS: I don't understand
 19      Q. Did you take any of your own personal       19          the question.
 20   notes in connection with the rating process and   20   BY MS. BURKE:
 21   keep them for yourself?                           21      Q. Don Dolenti's performance formal
 22      A. For the rating process, no.                 22   evaluation for 2017 would not have come out
 23      Q. Like on a notepad of your own and take      23   until early 2018, correct?
 24   them with you when you left your employment?      24      A. Correct.


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                                             ALLISON RAY
                                                                                            Pages 33 to 36
                                              Page 33                                                Page 35
  1       Q. And so when you were notified that you       1       Q. Now, going back to your Complaint,
  2   had to rate your employees, had you already         2   which is Ray-1, again, despite your excellent
  3   decided for any of your employees what score you    3   performance through your 23 years of service
  4   were going to give them on their performance        4   with defendants -- did you believe that AT&T
  5   evaluations?                                        5   should have taken your years of service into
  6       A. I'm having a hard time coming up with        6   account when making the decision about the
  7   an answer to that because I was asked to rate in    7   reduction in force?
  8   October; that wouldn't have impacted a February     8             MR. LEAHY: Objection to form.
  9   2018 rating. That's maybe I'm not                   9             THE WITNESS: Yes.
 10   understanding.                                     10   BY MS. BURKE:
 11       Q. I would agree with you. I'll try to         11       Q. Why?
 12   be more clear in my question.                      12       A. I felt my tenure there was a good
 13           When did you first learn that anybody      13   indication of the experience.
 14   on your team may be impacted by the surplus?       14       Q. Did you think it was a good indication
 15       A. We were notified in October of 2017.        15   of your skill set?
 16       Q. Immediately before you were notified        16       A. It's a different category.
 17   of the surplus, had you already started            17       Q. I know that. I'm asking if you think
 18   commencing any of the performance reviews for      18   it was a good indication of your skill set?
 19   your team members?                                 19       A. No.
 20       A. No, I don't believe I did.                  20       Q. You just think that was a good
 21       Q. And at that point, had you made a           21   indicator regarding your experience?
 22   decision as to what score Don Dolenti would get    22       A. Yes.
 23   in his upcoming annual review?                     23       Q. So if someone hypothetically had been
 24       A. No.                                         24   there for one year and you were there 23 years,

                                              Page 34                                                Page 36
  1      Q. Were you anticipating rating him does         1   do you believe you should have gotten a higher
  2   not meet, meets some, or you had no idea at that    2   points rating in the category of experience?
  3   point in time?                                      3      A. Yes.
  4      A. I had no idea.                                4      Q. Just a logical connection, right?
  5      Q. As we sit here right now, do you know         5      A. Yes.
  6   one way or the other whether or not the             6      Q. Again, I'm going on Exhibit Ray-1.
  7   individuals who rated you in connection with        7   You say you were terminated on account of your
  8   your notification of job elimination used           8   age (49 at the time of the termination) as a
  9   similar rating instructions as you were given       9   result of AT&T's company wide Workforce 2020
 10   for your team members?                             10   plan to reduce what it perceived to be an aging
 11      A. My assumption is that they used the          11   workforce.
 12   same.                                              12          Do you see that?
 13      Q. Looking at Ray 98 within exhibit             13      A. Where are you?
 14   Ray-2, do you believe that if individuals had      14      Q. Page 1, the second paragraph. Do you
 15   exceeds or far exceeds on their performance        15   want me to read it to you again?
 16   evaluations they would have gotten higher point    16      A. Nope.
 17   scores than you in the performance category?       17      Q. When you filed this lawsuit in August
 18      A. Can you repeat the question?                 18   of 2018, what, if anything, did you know about
 19      Q. Looking at this instruction page, do         19   AT&T's company wide Workforce 2020 plan?
 20   you believe that if your peers had exceeds or      20      A. I was aware of it because when I
 21   far exceeds on their reviews, they would have      21   worked at the company, I saw various stories,
 22   gotten a higher point score than you in the        22   you know, from Randall Stephenson indicating the
 23   performance category?                              23   vision, and leadership would send out emails
 24      A. I would make that assumption.                24   about training initiatives.


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                                            ALLISON RAY
                                                                                             Pages 65 to 68
                                             Page 65                                                  Page 67
  1       Q. I want to look at Paragraph 30.              1   previously been.
  2       A. Yes.                                         2      Q. Well, in 2016, did you tell him that
  3       Q. Employees are selected for surplus           3   his leadership skills were exceeds?
  4   based on centrally-determined company-wide          4      A. Yes.
  5   ill-defined and/or subjective criteria in a         5      Q. And you knew that in rating the
  6   process infected with age bias.                     6   managers, you were specifically directed to look
  7           Do you believe that's true?                 7   back at least two to three years, right?
  8       A. Yes.                                         8      A. Yes.
  9       Q. Do you believe that only applied to          9      Q. Not just look at 2017?
 10   your rating process or you also believe that       10      A. Yes.
 11   applied to the rating process that was applied     11      Q. So you personally weren't going to let
 12   to Mr. Dolenti?                                    12   anything that may have had happened in 2017
 13       A. Yes.                                        13   taint your overall rating process, were you?
 14       Q. Yes, it also applied to Mr. Dolenti?        14             MR. ORLOW: Objection to form.
 15       A. Yes.                                        15             MR. LEAHY: Objection to form.
 16       Q. Without limitation, employees are           16             THE WITNESS: Repeat the question.
 17   assigned a rating for, quote, skills. However,     17                * * *
 18   the, quote, skills supposedly assessed are not     18            (Whereupon, the court reporter
 19   those necessary to perform an actual job but a     19        read back the pertinent testimony.)
 20   job of the, quote, future per vision 2020; thus    20                * * *
 21   permitting managers to assign ratings based on     21             MR. LEAHY: Same objection.
 22   the ageist stereotype that older workers could     22             MR. ORLOW: Objection.
 23   not or would not acquire, quote, high tech         23             THE WITNESS: I used feedback in
 24   skills necessary for these future jobs.            24          my observations in 2017 as part of the


                                             Page 66                                                  Page 68
  1           Do you see that?                            1           process that I rated.
  2       A. Yes.                                         2   BY MS. BURKE:
  3       Q. Do you believe that that was applied         3       Q. Were you going off how Don was doing
  4   to Mr. Dolenti when he was rated?                   4   only in 2017 or did you actually take into
  5              MR. ORLOW: Objection to form.            5   consideration the last two to three years?
  6           You can answer.                             6       A. I took the prior years into
  7              THE WITNESS: Yes.                        7   consideration but I also included 2017.
  8   BY MS. BURKE:                                       8       Q. In 2017, your perception regarding
  9       Q. Why?                                         9   that his leadership was not as good as years
 10       A. I just feel like the category or the        10   prior, was that based on any Inspire and Engage
 11   ratings had to be -- they're subjective. There     11   surveys?
 12   was no -- there was no information that was        12       A. That was a piece of it.
 13   factual that would provide you with the            13       Q. You yourself were subject to Inspire
 14   opportunity to put a specific rating in.           14   and Engage surveys, right?
 15   Everything for this category as the others was     15       A. That is correct.
 16   based on how you felt about their skills. It       16       Q. Did you put a lot of stock in those?
 17   was subjective.                                    17       A. Personally, which we're not supposed
 18       Q. Did you feel Don had good skills?           18   to, yes, but I did.
 19       A. Over what period of time?                   19       Q. How were yours?
 20       Q. In general.                                 20       A. They were improved from 2016.
 21       A. Don had very good skills when it came       21       Q. 2016, yours weren't that great, right?
 22   to understanding the processes and the policies    22       A. No.
 23   of the company. I felt, however, his leadership
                                                         23       Q. In fact, what, 38 or 40 percent of
 24   skills in 2017 were not as good as what they had
                                                         24   your team, they didn't give the best ratings of


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                                             ALLISON RAY
                                                                                             Pages 69 to 72
                                              Page 69                                                 Page 71
  1   you from a leadership standpoint?                   1   consideration of his leadership score was
  2      A. For me personally?                            2   Inspire and Engage survey in 2017?
  3      Q. Yeah.                                         3      A. Yes, part of it.
  4      A. I don't remember the exact score. I           4      Q. Did he have any employees to your
  5   remember they were not good.                        5   knowledge that were being actively coached or
  6      Q. Do you believe that that should have          6   put on any kind of disciplinary PIPs?
  7   been held against you as part of your overall       7      A. At what point?
  8   leadership rating when it came to determining       8      Q. In '17.
  9   whether you should be subject to a job              9      A. Yes, I believe there was Alyse Brock
 10   elimination?                                       10   was put on -- I think she was put on a plan, and
 11             MR. LEAHY: Objection to form.            11   one of his assistant managers was on a plan. I
 12             THE WITNESS: If that was part of         12   can't remember, his name was Matt something.
 13          the criteria of looking at performance      13      Q. Were those people excluded from
 14          and leadership, then why should I be        14   participating in the Inspire and Engage survey
 15          held any different than everybody           15   or they were allowed to participate like anyone
 16          else?                                       16   else?
 17   BY MS. BURKE:                                      17      A. They were able to participate. The
 18      Q. You knew leadership was one of the           18   Inspire and Engage survey I believe was in
 19   categories, right?                                 19   February. So I don't know the timing of when
 20      A. Correct.                                     20   these employees were on plans. I don't know if
 21      Q. And you didn't have the greatest score       21   that falls within the same time that the Inspire
 22   for leadership in 2016, based on your Inspire      22   and Engage survey was.
 23   and Engage survey?                                 23      Q. Do you believe that being assigned
 24             MR. ORLOW: Objection to form.            24   ratings based on ageist stereotypes was

                                              Page 70                                                 Page 72
  1              THE WITNESS: I don't remember the        1   something that only happened to you or do you
  2           exact score, but my scores were not         2   believe that that also transpired with Dolenti?
  3           good.                                       3   I'm just trying to understand.
  4   BY MS. BURKE:                                       4            MR. LEAHY: Objection to form.
  5      Q. Those Inspire and Engage surveys are          5            MR. ORLOW: Objection to form.
  6   done by the subordinates, right?                    6   BY MS. BURKE:
  7      A. Correct.                                      7      Q. You can answer.
  8      Q. And there are any number of factors           8      A. I did not have that age bias when I
  9   that may prompt them to give you less than          9   was rating Don.
 10   stellar comments, right?                           10      Q. Yours was completely objective, even
 11              MR. LEAHY: Objection to form.           11   though every category was essentially subjective
 12              THE WITNESS: Sure.                      12   and subject to your discretion?
 13   BY MR. BURKE:                                      13      A. Repeat that.
 14      Q. Including if an employee is being            14      Q. Yours was entirely objective, even
 15   counseled, coached, put on a PIP?                  15   though you could essentially give him whatever
 16              MR. LEAHY: Objection to form.           16   numbers you wanted, right?
 17              THE WITNESS: Could you repeat           17      A. I rated him based on what I thought
 18           that?                                      18   was the appropriate rating based on my
 19   BY MS. BURKE:                                      19   observations and feedback that I had received on
 20      Q. If the employee is being actively            20   him.
 21   disciplined, you think they're going to give you   21      Q. But you understood that you had full
 22   a good score?                                      22   discretion to give him any numerical rating you
 23      A. Probably not.
                                                         23   wanted from a 1 to a 5, right?
 24      Q. So Mr. Dolenti, you said part of your
                                                         24            MR. LEAHY: Objection to form.


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                                                                                             Pages 89 to 92
                                              Page 89                                                 Page 91
  1   or was it prepopulated for you?                     1   row 4, if you follow it over, his 2015 was fully
  2      A. For 2016 it should have been                  2   meets and '16 was fully meets. Do you see that?
  3   prepopulated.                                       3       A. Yes.
  4      Q. I'm talking for '15 and '16, and that         4       Q. We discussed this earlier. Fully
  5   actual 2016 numeric rating?                         5   meets is a good score, correct?
  6      A. Yes.                                          6       A. Yes.
  7      Q. Did that come prepopulated?                   7       Q. In your mind, right?
  8      A. I believe it , yes, if I remember             8       A. Yes.
  9   correctly.                                          9       Q. And then it says 2016 numeric rating,
 10      Q. Did you have to go back and physically       10   3, that was prepopulated, right?
 11   pull these employees' performance evaluations to   11       A. Yes.
 12   see what they were rated and then look at your     12       Q. And then it says business
 13   chart and give them a score?                       13   justification needed if current rating is out of
 14      A. No. If it was prepopulated, it was           14   range from previous ratings. You give him a
 15   already there.                                     15   current performance rating of 2. Do you see
 16      Q. I'm not telling you it's prepopulated.       16   that?
 17   I'm asking you.                                    17             MR. ORLOW: Objection to form.
 18      A. If I remember correctly, it was              18             THE WITNESS: That's what it says.
 19   prepopulated.                                      19   BY MS. BURKE:
 20      Q. Again, using Jessica Costigan as an          20       Q. Did you give him a current performance
 21   example, fully meets for 2015, fully meets for     21   rating of 2?
 22   2016 and the 2016 numerical rating of 3, that      22       A. I don't recall what I specifically
 23   was there when you got this spreadsheet?           23   gave him. For all I know, this could have been
 24      A. Yes.                                         24   changed.


                                              Page 90                                                 Page 92
  1      Q. Now I want to go to the spreadsheet           1       Q. Do you know if you gave him a 2 or
  2   that actually has scores in it. If you could go     2   not?
  3   to -- you can X out of this one, and we're in       3       A. I don't remember what I gave him.
  4   the same folder, which is the ESI folder and        4       Q. It says meeting some metrics, but not
  5   we're still in natives and the spreadsheet is       5   all. Did you write that?
  6   21, ESI AT&T Dolenti 21.                            6       A. I don't remember writing that.
  7      A. Okay.                                         7       Q. You would actually have to verify the
  8      Q. Let's go down to row 4, which is Don          8   email that you sent and what you attached?
  9   Dolenti. Okay?                                      9       A. Yeah.
 10      A. Okay.                                        10              MS. BURKE: That was not produced
 11      Q. It says the rater is Alison Ray, you.        11           to me and the subject of a current
 12   Do you see that?                                   12           motion with the court.
 13      A. Yes.                                         13              Can you mark the page, please,
 14      Q. You did, in fact, rate all these             14           Hope?
 15   employees?                                         15                  * * *
 16      A. Yes.                                         16        (Whereupon, Counsel requested the
 17      Q. Now, in terms of years of service,           17        transcript be marked.)
 18   that was prepopulated for you as well, right? I    18                  * * *
 19   just want to clarify that.                         19              MR. LEAHY: I'll tell you for the
 20      A. Yes.                                         20           record the email attaching it is
 21
                                                         21           Dolenti 157. I have it as an exhibit
         Q. Out of your ARSMs, Linda Swayze had
                                                         22           if you'd like it.
 22   the most years of service and then Don Dolenti?
                                                         23              MS. BURKE: No, I can pull it up
 23      A. Yes.
                                                         24           myself.
 24      Q. Now, for Don Dolenti, we're still in


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                                             ALLISON RAY
                                                                                          Pages 105 to 108
                                            Page 105                                                 Page 107
  1      A. Okay.                                         1   what -- it was the dashboard for overall
  2      Q. Column R, do you see where it                 2   rankings. It was based on attainment, and this
  3   struggling in 2017?                                 3   was the dashboard that basically Judy would use
  4      A. I do.                                         4   to recognize leaders in the market, like from a
  5      Q. Then do you see above that for a              5   shoutout perspective. Oh, you know, the number
  6   different employee it says struggling in 2017       6   one store is or, you know, the number one sales
  7   and it's misspelled for Jeffrey Carson?             7   rep is or the number one ARSM is on a monthly
  8      A. Yes.                                          8   basis, we would look at this ranking dashboard.
  9      Q. Jeffrey Carson was not someone that           9       Q. If you wanted to go into the system at
 10   you oversaw, right?                                10   any given time into the dashboard, let's just
 11      A. I used to but not in 2017.                   11   use October of 2017 as an example, would it have
 12      Q. Did you rate him in 2017?                    12   actually ranked all the current ARSMs under Judy
 13      A. I did not.                                   13   Cavalieri?
 14      Q. Did you provide any input as to what         14       A. Yes.
 15   his rating should be in 2017?                      15              MS. BURKE: Can you mark the page,
 16      A. No, I did not.                               16           please, Hope?
 17      Q. Did you write this here for Don              17                  * * *
 18   Dolenti, struggling in 2017?                       18        (Whereupon, Counsel requested the
 19      A. I did not. This is the first time I'm        19        transcript be marked.)
 20   seeing this spreadsheet.                           20                  * * *
 21      Q. Other than what you told me earlier, I       21   BY MS. BURKE:
 22   just want to go to exactly what I wrote down,      22       Q. Now, looking at this document and the
 23   that you felt his leadership skills in 2017 were   23   other ARSMs here from Tanya Legaux, the very
 24   not as good as previously, did you actually        24   first person.


                                            Page 106                                                 Page 108
  1   believe that he was, quote, struggling 2017, as     1      A. Okay.
  2   the person indicated here?                          2      Q. Are you familiar with her name?
  3       A. I don't believe he was struggling. I         3      A. Yes.
  4   think that he was having a rough patch, because     4      Q. She was an ARSM under a different
  5   I knew from previous years that he's had -- he      5   sales director?
  6   has the capability of being a good leader. I        6      A. Yes.
  7   don't know if he just lost motivation, if it was    7      Q. And then all the way down through
  8   the pressure of, you know, sales and, you know,     8   Linda Swayze, who was one of your people, right?
  9   performance wasn't that good. I don't know.         9      A. Correct.
 10   But I just saw a decline in his leadership and I   10      Q. Who was on a corrective action plan,
 11   got feedback from some of his managers that they   11   right?
 12   weren't happy.                                     12      A. Yes.
 13       Q. Going back to my original question          13      Q. Did you actually believe that Don
 14   which was about leadership, in terms of his        14   Dolenti, age 57 at the time, deserved to be at
 15   actual sales numbers though, were they             15   the bottom out of all of these people?
 16   struggling?                                        16             MR. LEAHY: Objection to the form.
 17       A. He was a low performer.                     17             THE WITNESS: I'm not --
 18       Q. In what metrics?                            18             MR. ORLOW: I'm going to object to
 19       A. Well, you know, year over year results      19          the form as well.
 20   were not good. They weren't good for a lot of      20             THE WITNESS: I'm not
 21   people. You could either, you know, be down a      21          understanding the question. Did he
 22   lot year over year or you could be up but not as   22          deserve to be on the bottom of this
 23   good as other people. But his overall rankings,
                                                         23          form?
 24   we used to look at a dashboard. It's kind of
                                                         24   BY MS. BURKE:


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                                            ALLISON RAY
                                                                                       Pages 125 to 128
                                            Page 125                                              Page 127
  1   literally the month of 2016 at 846 versus         1          cause year over year growth to change
  2   October 2017 at 920?                              2          and, you know, foot traffic is
  3       A. That is a monthly count.                   3          certainly one of them, management
  4       Q. It's not year to year cumulative?          4          changes are another.
  5       A. It's over to the right.                    5   BY MS. BURKE:
  6       Q. That's the cumulative?                     6      Q. Well, when you're doing your ratings
  7       A. Yes.                                       7   for your ARSMs, did you actually go into
  8       Q. Where it says 16 through October and       8   dashboard and look at their year and year
  9   17 through October?                               9   growth?
 10       A. Yes.                                      10      A. Yes.
 11       Q. Year over year he was down by 9           11      Q. Is this the report that you looked at?
 12   percent?                                         12      A. I don't remember if this was specific
 13       A. That Berkshire Mall.                      13   one. You know, I had printed information when I
 14       Q. For that store?                           14   was surplused, you know, for my personal
 15       A. Correct.                                  15   benefit, but I don't remember if this was the
 16              MR. ORLOW: If you feel like you       16   specific data that I looked at.
 17           need to review the rest.                 17      Q. We know that you turned your
 18              THE WITNESS: Sorry, I thought you     18   spreadsheet in at least as of October 16th,
 19           had said these were based on documents   19   right?
 20           I provided.                              20             MR. ORLOW: Objection to form.
 21              MS. BURKE: These were documents       21   BY MS. BURKE:
 22           given to me by your attorney this        22      Q. The completed ratings that you emailed
 23           morning.                                 23   to Kyle?
 24              MR. ORLOW: Yes, these are.            24      A. Oh, yes, yes. The data I pulled was


                                            Page 126                                              Page 128
  1             THE WITNESS: Yeah, I don't              1   from the dashboard, so yes.
  2          remember them. Sorry, I don't              2       Q. So you would have only had roughly two
  3          remember the graphs. My apologies.         3   weeks of data in October, right?
  4   BY MS. BURKE:                                     4       A. Correct. What I was saying though is
  5      Q. Is there anything that you just told        5   I don't know if this was the specific sheet that
  6   me that you believe is inaccurate?                6   I used.
  7      A. No, not at all, not at all.                 7       Q. Would the categories have been the
  8      Q. For the Berkshire Mall store only, the      8   same, it would show you your ARSMs by their
  9   year over year comparison, that store was down    9   store and their KPIs to date?
 10   by 9 percent?                                    10       A. Yes.
 11      A. Year to date, yes, yep.                    11       Q. Let me ask you this: Did Dolenti's
 12      Q. Now, some of these other stores were       12   performance in your mind change dramatically
 13   down by almost, one of them 32 percent, for      13   from the first week of October until you
 14   Swayze's Tilghman store. Do you see that?        14   completed the ratings on October 16th, 2017?
 15      A. Yes.                                       15   Was there a big change?
 16      Q. Now, is this significant to you or,        16       A. I don't remember.
 17   again, is it all relative because every store    17       Q. The next KPI for your ARSMs is the
 18   may have different foot traffic or is a          18   postpaid voice GA count. Do you see that?
 19   different size?                                  19       A. Yes.
 20      A. Yes.                                       20       Q. What's that for?
 21      Q. How did you gauge this?                    21       A. That's new subscribers for voice, so
 22             MR. LEAHY: Objection to form.          22   who are purchasing wireless, or yeah, so think
 23             THE WITNESS: Yeah, the -- there        23   of it as a cell phone versus a tablet, which was
 24          were a lot of the factors that could      24   data.


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                                              ALLISON RAY
                                                                                          Pages 229 to 232
                                             Page 229                                                Page 231
  1   the ones that you gave for each of those            1   performance at the time?
  2   employees; is that right?                           2      A. At that time, yes.
  3       A. According to the spreadsheet. I don't        3      Q. The next one over, leadership personal
  4   remember my actual ratings, but if this is my       4   capability rating, 2. Is that consistent with
  5   spreadsheet that I submitted, then those are the    5   what you remember at the time?
  6   ratings.                                            6      A. Yes.
  7       Q. And the numbers that you see here for        7      Q. And the next one, leadership focus on
  8   these employees, are there any that you look at     8   results rating, also a 2. Is that consistent
  9   and think are incorrect?                            9   with your recollection of his performance at the
 10       A. Can you -- incorrect as in back then        10   time?
 11   or --                                              11      A. Yes.
 12       Q. Are they inconsistent with what your        12      Q. Now, for the other employees listed
 13   perception was at the time you rated these         13   here, if we take Mr. Dangleman, for example, it
 14   employees?                                         14   looks like he had 4s across the board. Is that
 15       A. Well, I don't remember specifically         15   consistent with your recollection of his
 16   the ratings and my thought process on that         16   performance at the time?
 17   particular day that I was doing this. So would     17      A. Yes.
 18   it be any different, I can't answer that right     18      Q. And how about Mr. Espinosa, it looks
 19   this second.                                       19   like Mr. Espinosa had a mix of 3s and 4s. He
 20       Q. Based on what you remember at the           20   had a 3 for current performance. Is that
 21   time, it looks like the current performance        21   consistent with what you remember at the time?
 22   rating for Mr. Dolenti was a 2?                    22      A. Yes.
 23       A. Okay.                                       23      Q. And he had a 4 for leadership
 24       Q. Is that consistent with your                24   character rating. Is that consistent with what


                                             Page 230                                                Page 232
  1   recollection?                                       1   you remember?
  2      A. Of what I entered or his performance?         2      A. Yes.
  3      Q. Both.                                         3      Q. He had a 3 for leadership leading
  4      A. I'm having a hard time answering that         4   change rating. Consistent with what you
  5   right now, because again, I don't remember. I       5   remember?
  6   mean, he was a low performer.                       6      A. Yes, sorry. I lost my spot.
  7      Q. And would 2 be consistent with                7             MR. ORLOW: Leading change.
  8   somebody being a low performer?                     8             THE WITNESS: Yes, yes.
  9      A. Yes.                                          9   BY MR. LEAHY:
 10      Q. And it looks like you gave Ms. Swayze,       10      Q. And 4s then in the remaining
 11   according to this spreadsheet, a 1. Was she        11   categories, is that consistent with what you
 12   also a low performer?                              12   remember?
 13      A. Yes.                                         13      A. Yes.
 14      Q. And if you go over a couple of               14      Q. Based on the total rating that came
 15   columns, Mr. Dolenti is listed on here as having   15   out from the scores that you put in, for the
 16   a 2 under leadership, leading change rating; is    16   four ARSMs who reported to you, Ms. Swayze was
 17   that correct?                                      17   the lowest rated; is that correct?
 18      A. Correct.                                     18      A. Yes, by this ranking here with the
 19      Q. And is that consistent with your             19   spitout, yes.
 20   recollection of his performance at the time?       20      Q. And is that your consistent with your
 21      A. Yes.                                         21   perception if you looked at the four of them,
 22      Q. The next one is leadership                   22   that she was the lowest performing of the four?
 23   interpersonal skills rating, 2. Is that your       23      A. At that time?
 24   consistent with your recollection of his           24      Q. Yes.


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                                             ALLISON RAY
                                                                                         Pages 233 to 236
                                             Page 233                                               Page 235
  1      A. Yes.                                          1      A. Yes.
  2      Q. The next lowest would be Mr. Dolenti          2      Q. When I asked why, she said that my
  3   at 2.6 of the rating that was generated; is that    3   year over year results were not good and my
  4   correct?                                            4   engagement scores were also not good and that I
  5      A. Yes.                                          5   was coached on this during the year.
  6      Q. Is that consistent with your                  6          Did I read that correctly?
  7   recollection; that is, of the four at that time,    7      A. Yes.
  8   he was the second worst performing?                 8      Q. Are each of those things true?
  9      A. Yes.                                          9      A. His year over year results were not
 10                * * *                                 10   good; his engagement scores in the beginning of
 11       (Whereupon, Exhibit Ray-18 was                 11   the year were not good, and he was coached. I
 12       marked for identification.)                    12   gave feedback to Don throughout the year.
 13                * * *                                 13      Q. The next sentence, Judy also said that
 14   BY MR. LEAHY:                                      14   HR followed up with skip level meetings with my
 15      Q. Ms. Ray, I'm showing you now a               15   team regarding engagement.
 16   document. I'll ask you, have you seen it           16          Were you aware of that?
 17   before? I can tell you that this is the            17      A. Yes, I was.
 18   Complaint that Mr. Dolenti originally filed with   18      Q. Were you involved in it?
 19   the court. Have you ever seen it before?           19      A. Not in the actual meetings. I
 20      A. Yes.                                         20   actually -- when I was giving feedback to Don
 21      Q. When did you see it before?                  21   during the year, as I mentioned in my earlier
 22      A. A few weeks ago.                             22   testimony, where he was not very accepting or
 23      Q. In what context did you see it?              23   open to feedback, I had been getting feedback
 24      A. When my attorney --                          24   from his managers about them not being happy,


                                             Page 234                                               Page 236
  1             MR. ORLOW: That's enough.                 1   and in, in fact, one manager said that he didn't
  2   BY MR. LEAHY.                                       2   want to work for Don anymore. I did not tell
  3       Q. It was with your attorney?                   3   Don that part though because the sales manager
  4       A. Yes.                                         4   wanted me to keep in confidence. However,
  5       Q. Good enough for me.                          5   because Don was not open to the feedback, I felt
  6          Let me ask you to turn to, if you look       6   like I had to get an outside party to
  7   at the top right, do you see a numbering on it,     7   investigate what was going on. And one of my
  8   it says Page blank of 19?                           8   peers, Jerry Fornwald, had suggested that I
  9       A. Yes.                                         9   reach out to Kyle Mundis, because Kyle did the
 10       Q. Turn to Page 7 of 19. I did it double       10   same thing for Jerry, which was to get his -- he
 11   sided just to save a tree or two. Do you see       11   would get Don's managers in a room and his
 12   there's the third full paragraph on the page       12   assistant managers in a room to try and dig into
 13   that begins when we were first notified?           13   what's actually going on from an engagement
 14       A. Yes.                                        14   standpoint. And I asked Kyle to do that for
 15       Q. I'd like you to go down to -- I'm           15   Don, and I also asked him to do it for Linda.
 16   going to read some of this quickly just to put     16           I don't remember the exact time that
 17   some of it in context. But it refers on the        17   it occurred. It was probably towards the end of
 18   second sentence to, on November 16th, 2017, I      18   the summer, early fall. It was definitely
 19   received a call from Judy Cavalieri and was told   19   before the surplus. But I never saw the actual
 20   that it shouldn't be a surprise that you are
                                                         20   results of what happened. I asked for them, and
 21   receiving this call.
                                                         21   Kyle was kind of procrastinating in getting back
 22
                                                         22   to me. And, you know, I would get excuses like
             Do you see that?
                                                         23   he had to gather his thoughts and his notes, and
 23       A. Yes.
                                                         24   he'd get them to me, but I never got them. And
 24       Q. Regarding your surplus?


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                                              ALLISON RAY
                                                                                         Pages 245 to 248
                                              Page 245                                              Page 247
  1            MR. ORLOW: I'm going to object             1   BY MR. LEAHY:
  2         just because I am a little confused by        2       Q. Ms. Ray, do you have Exhibit Ray-19 in
  3         the question, but if you understand.          3   front of you?
  4            THE WITNESS: Can you repeat the            4       A. Yes.
  5         question?                                     5       Q. Ray-19 is an email from Ms. Cavalieri
  6   BY MR. LEAHY:                                       6   to you on October 10th of 2017. Do you see
  7      Q. You wouldn't say something like that          7   that?
  8   because it's wrong to say, isn't it?                8       A. Yes.
  9      A. Yes.                                          9       Q. And the subject is KPI market leaders?
 10      Q. Did you know an employee named Harry         10       A. Yes.
 11   Del Buono?                                         11       Q. Do you see that?
 12      A. Yes.                                         12       A. Yes.
 13      Q. Who was Mr. Del buono?                       13       Q. Do you recall this email?
 14      A. He was one of my old employees.              14       A. No.
 15      Q. Did you ever go on rides with him?           15       Q. The first line says Linda and Don both
 16      A. Yes.                                         16   down YOY, which I think is year over year, by
 17      Q. Did you ever refer to him as an old          17   over 50 percent in premium video and down in
 18   man during those rides?                            18   postpaid voice as well.
 19      A. No.                                          19          Did I read that correctly?
 20      Q. In rating the performance that you did       20       A. Yes.
 21   of your employees that we have gone through on     21       Q. Do you remember that being an issue at
 22   the spreadsheet a little I while ago, did you      22   that point in time?
 23   consider anybody's age in doing that?              23       A. I don't remember the exact numbers.
 24      A. No.                                          24   I'd have to look at the report, but they could


                                              Page 246                                              Page 248
  1      Q. Now, the fact that, for example,              1   have been down.
  2   Mr. Dangleman was younger than Mr. Dolenti, is      2      Q. And then she says, how can I help? Do
  3   that a reason that he received a better rating      3   you remember discussing their performance then
  4   than Mr. Dolenti?                                   4   with Ms. Cavalieri after this email?
  5      A. No.                                           5      A. No, I don't remember because I don't
  6      Q. Why did he get a better rating than           6   remember this email, so I don't remember a
  7   Mr. Dolenti?                                        7   conversation with her.
  8      A. Why?                                          8                * * *
  9      Q. Yes.                                          9        (Whereupon, Exhibit Ray-20 was
 10      A. Overall rating?                              10        marked for identification.)
 11      Q. Yes. Well, the ratings in the                11                * * *
 12   individual categories, why did he get individual   12   BY MS. BURKE:
 13   ratings that were better than Mr. Dolenti's in     13      Q. Ms. Ray, Exhibit Ray-20 is a series of
 14   those categories?                                  14   email exchanges between you and Mr. Dolenti.
 15      A. Why did he get better --                     15   The top one is October 9th of 2017. Do you see
 16      Q. Why did you rate him higher?                 16   that?
 17            MR. ORLOW: Objection to form.             17      A. Yes.
 18          You can answer.                             18      Q. Do you recall this email?
 19            THE WITNESS: I thought that his           19      A. Not necessarily. I mean, if I can
 20          performance was better.                     20   read this.
 21                * * *                                 21      Q. Take your time. Only the first one is
 22       (Whereupon, Exhibit Ray-19 was                 22   a standalone email.
 23       marked for identification.)                    23      A. I need to understand this in the
 24                * * *                                 24   context. There's no other information.


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                                             ALLISON RAY
                                                                                         Pages 253 to 256
                                             Page 253                                               Page 255
  1           Did I read that correctly?                  1       Q. Did you apply any ageist stereotypes
  2       A. Yes.                                         2   in assessing Mr. Dolenti's skills?
  3       Q. Do you recall getting this from              3       A. No.
  4   Mr. Dolenti?                                        4       Q. Did you apply ageist stereotypes in
  5       A. It's from -- it's familiar. I mean, I        5   assessing any employee's skills of those you
  6   remember him sending me a spreadsheet that just     6   rated?
  7   had tons and tons of data, which is why I asked     7       A. Not at all.
  8   him to go back and provide me a summary; that I     8       Q. But you think others did so in rating
  9   didn't want to have to go through them all          9   you?
 10   myself.                                            10       A. I'm not sure what specifically or --
 11       Q. Were you disappointed in his                11   I'm not sure who made the decision to terminate
 12   performance at this point for this task?           12   me, so I don't know exactly what -- I don't know
 13       A. Well, he didn't provide me for what I       13   what they were thinking.
 14   was looking for in this email.                     14       Q. I'd like you to turn to Paragraph 69
 15       Q. Let me ask you to go back to Exhibit        15   of your Complaint.
 16   Ray-1. That was your Complaint. Do you have in     16       A. (Witness complies with request.)
 17   it front of you?                                   17       Q. Paragraph 69, this is referring to
 18       A. I do.                                       18   your own termination. It says per the ADEA
 19       Q. Let me ask you to turn first to             19   listing of the eight individuals assigned to AWG
 20   Paragraph 30 of the Complaint. Do you see          20   12, plaintiff was one of two selected for
 21   Paragraph 30, it says employees are selected for   21   surplus by defendants.
 22   surplus based on centrally determined              22          Do you see where I read that?
 23   company-wide ill-defined and/or subjective         23       A. Yes.
 24   criteria and a process infected with age bias.     24       Q. Of the eight employees assigned to AWG


                                             Page 254                                               Page 256
  1           Did I read that correctly?                  1   12, the two employees, including plaintiff and
  2      A. Yes.                                          2   an employee older than plaintiff, who were
  3      Q. Without limitation, employees are             3   selected for surplus were the two oldest
  4   assigned a rating for skills; however, the          4   employees in AWG 12.
  5   skills supposedly assessed are not those            5          Did I read that correctly?
  6   necessary to perform an actual job but a job of     6      A. Yes.
  7   the future Provision 2020.                          7      Q. Now, we went through the ratings that
  8           Did I read that correctly?                  8   you did of employees who reported to you,
  9      A. Yes.                                          9   correct?
 10      Q. Thus, permitting managers to assign          10      A. Yes.
 11   ratings based on the ageist stereotype that        11      Q. And of those employees we discussed
 12   older workers could not or would not acquire       12   the fact that, for example, Mr. Dangleman
 13   high tech skills necessary for these future        13   received higher ratings than Mr. Dolenti in each
 14   jobs.                                              14   of the categories, didn't he?
 15           Did I read that correctly?                 15      A. Yes.
 16      A. Yes.                                         16      Q. And Mr. Dolenti was older than
 17      Q. Did you assess Mr. Dolenti's skills          17   Mr. Dangleman, wasn't he?
 18   when you rated his performance?                    18      A. Yes.
 19      A. Yes.                                         19      Q. Did Mr. Dangleman's age play any role
 20      Q. What ageist stereotype did you apply         20   in that?
 21   in assessing those skills?                         21      A. No.
 22             MR. ORLOW: Objection to form.
                                                         22      Q. You just rated them honestly, didn't
 23           Mischaracterization of testimony.
                                                         23   you?
 24   BY MR. LEAHY:
                                                         24      A. Yes.


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                                            ALLISON RAY
                                                                                        Pages 257 to 260
                                            Page 257                                               Page 259
  1       Q. And in doing that, the older employee       1   he would say?
  2   in this case was rated lower than the younger      2      A. No.
  3   employee?                                          3      Q. Now, in rating Mr. Dolenti's skills,
  4       A. Yes.                                        4   do you believe that the way you rated him was
  5       Q. You testified earlier in response to        5   based on how you felt about his skills?
  6   Ms. Burke's questions that you told Mr. Dolenti    6      A. Yes.
  7   he needs to connect better with his team.          7      Q. Do you believe that how you felt about
  8           Do you remember that?                      8   his skills was in any way affected by his age?
  9       A. Yes.                                        9      A. No.
 10       Q. What did you tell him about that?          10      Q. When you say how you felt about his
 11   What specifically did you discuss him?            11   skills, what did you base it on?
 12       A. I don't remember the specific comments     12      A. I don't remember what I based it on at
 13   or feedback that I gave him.                      13   that specific time.
 14       Q. You just remember that you told him he     14      Q. You did rate employees a number of
 15   needed to connect better?                         15   times over the time --
 16       A. Yes.                                       16      A. I'm sorry.
 17       Q. What was it that led you to tell him       17      Q. You rated employees a number of times
 18   that?                                             18   over the time you were AT&T, correct?
 19       A. I was getting complaints and feedback      19      A. Correct.
 20   from his store managers.                          20      Q. You would have to rate skills most of
 21       Q. The only thing you remember telling        21   those times when you did it?
 22   him is that he needs to connect better?           22      A. Yes.
 23       A. I'm sure -- yeah, I mean, I remember       23      Q. And when you say you rated them based
 24   telling him that he needed to connect better      24   on how you felt about their skills, what would


                                            Page 258                                               Page 260
  1   with his teams. I don't remember the specific      1   you typically base that on?
  2   words that I used in the conversations that I      2       A. Based on their ability to do the job,
  3   had with him, but that was the general theme.      3   if they have the skill set.
  4      Q. And it was that he just --                   4       Q. And that's what you used in rating
  5      A. I'm sorry, I also told him that he           5   Mr. Dolenti?
  6   needed to help coach his people, he needed to      6       A. More than likely.
  7   help show them how to do things, because the       7       Q. Is there anything else you can think
  8   feedback that I was getting was that Don would     8   of that you would have used?
  9   just tell them how to do things, not show them     9       A. For skills?
 10   how to do things. But I don't remember the        10       Q. Yes.
 11   specific words that I used when having those      11       A. Not that I'm aware of right now.
 12   conversations.                                    12       Q. I know you testified, and you may have
 13      Q. But that was the general idea of it?        13   answered this already, that you were involved in
 14      A. Yes.                                        14   other surpluses and had done ratings like this
 15      Q. And I think you also testified that he      15   before?
 16   wasn't receiving feedback well; is that right?    16       A. Yes.
 17      A. That is correct.                            17       Q. In terms of what you did for this one,
 18      Q. What led you to conclude that he            18   was it any different from any of the other
 19   wasn't receiving feedback well?                   19   surpluses?
 20      A. Because he was very argumentative with      20       A. The only thing that was different was
 21   me and he just -- he just didn't believe what I   21   that the performance rating was already entered
 22   was saying. He just challenged me and
                                                        22   into that column.
 23   questioned me.
                                                        23       Q. Is that the one that would calculate
 24      Q. Do you remember what specific things
                                                        24   it?


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GAGE DECLARATION
   EXHIBIT 29

   FILED UNDER SEAL
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GAGE DECLARATION
   EXHIBIT 30
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANlA


ALISON RAY
     CollegeviiJe, PA 19426,
                                                           No. 2: 18-cv-03303-TR
Plaintiff,
                                                           Magistrate Judge Timothy R. Rice
v.

AT&T MOBILITY SERVICES LLC.
     I 025 Lenox Park Blvd., NE.
     Atlanta, GA 30319,

Defendant.


                                 Declaration of Elizabeth Alba

        I.     I am an Associate Director- Benefits at AT&T. I submit this declaration m

support of AT&T Mobility Services LLC's cross-motion for partial summary judgment in the

above-captioned matter. I have personal knowledge of the facts contained in this declaration and

if called to testify under oath, I could and would testify competently to them.

        2.     In my position at AT&T, I am responsible for the maintenance and general

oversight of the Mechanized Employee Surplus Administration system (the "MESA System").

When AT&T undertakes a reduction in force ("RIF''), we use the MESA System to gather

infonnation regarding the RIF, populate documents provided in connection with the RfF, and

distribute documents related to the RIF to employees affected by it. This is a routine business

process at AT&T.

        3.     Each RIF is assigned a Business Case Number. The MESA System was used for

Business Case 17-350.




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       4.      The MESA System uses data from CENET, the company's human resources

information system.     For each RTF, the responsible Human Resources Business Partner

("HRBP") identifies in the MESA System each of the employees who will be considered as part

of the RIF. The HRBP also identifies in the MESA System the employees (the "Raters") who

will review and assign ratings to the employees who will be considered as part of the RIF.

       5.      The Raters use the MESA System to enter their ratings for each employee whom

they are assigned to rate.    After the Raters have entered their ratings, the MESA System

populates the RIF data with the ratings and sorts the employees within each Affected Work

Group ("A WG") from highest-rated to lowest-rated.

       6.      The MESA System automatically identifies the employees within each A WG who

are rated the lowest and therefore fall below the line established by the target headcount

reduction for that A WG. For example, if the target headcount reduction for an A WG is three, the

MESA system will identify the three employees in that A WG who were assigned the lowest

ratings by the Raters. Then the HRBP uses the MESA System to select each of those employees

for participation in the employment surplus program.

       7.      During some RIFs, employees who are being considered are asked to use the

MESA System to notify the company if they are interested in leaving the company as part of the

RIF. If an employee uses the MESA System to notify the company that they are interested in

leaving as part of the RIF, the MESA System reliably stores that information.

       8.      The MESA System automatically generates an "ADEA Listing" for each RIF,

based on the employee records from the CENET system (including job title and age), the A WGs

entered by the HRBP, whether or not each employee is selected for participation in the

employment surplus program, and whether each employee expressed an interest in leaving.




                                                2




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        9.      Through the MESA website, the ADEA Listing for each RIF is provided to

employees who are selected for participation in the employment surplus program as part of that

RI F.   AT&T preserves the ADEA Listings and maintains them in the ordinary course of

business.

         10.    In my experience, the MESA System consistently and reliably generates the

ADEA Listings accurately based on data from CENET and the input from the HRBP, the Raters

and t he employees expressing an interest in leaving. I have worked on roughly 200 Business

Cases and in every one of those cases the MESA System generated an accurate ADEA Listing.

         11.    I have reviewed the document attached as Exhibit 7 to the Declaration of Alison

Ray (the "ADEA Listing 17-350"). The ADEA Listing 17-350 is a true and accurate copy ofthe

ADEA Listing generated by MESA, pursuant to the process described above, for Business Case

ID: 17-350.




         I declare under penalty of perjury that the lb regoing is true and correct. Executed this i_.~

day of October 20 18. in Dallas County, Texas.




                                                  3




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GAGE DECLARATION
   EXHIBIT 31
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Equal Employment Opportunity (EEO) and
Harassment Policies




AT&T Proprietary (Internal Use Only) Notfor use or disdosu re outside the AT&T companies exCEpt under written agree ment. 4/1/2016




                                                                                                                                     AT&T_Dolenti0000012


                                                                                                                                           DEF 0002591
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Introduction and Policy Statement


AT&T is strongly committed to a workplace that val ues diversity and inclusion and that is free of discrimination and
harassment of any kind. AT&T's EEO and Harassment Policies apply to al I AT&T empi oyees .

AT&T employees are protected from uni awful discrimination on the basis of race, color, religion, religious creed, national
origin, ancestry, age, sex, sexual ori entation, gender, gender identity, gender express ion, physical disability, menta I
disability, pregnancy, medi ca I condition, genetic information, marita I status, citizenship status, mi I itary status, veteran
status, or any other characteristic protected byfedera I, state, or I oca11aws. For instance, New York City a Iso prohibits
discrimination on the basis of creed. AT&T complies with these and other applicable EEO laws, and prohibits unlawful
discrimination.

AT&T a lso strictly prohibits a II forms of abusive conduct or workplace harassment, including sexual and racial harassment
and harassment based on any of the protected characteristics described above. An employee's actions, words, or
behavior must not create an intimidating, hostile, or offensive environment. Employees are not permitted to ridicule,
intimidate, threaten, demean, or bully other employees, customers, vendor employees, or any other individuals with
whom they interact. Remarks, comments,jokes, slurs, images, or gestures of an offensive nature wil I not be tolerated.

It is a violation of this policyto unlawfully discriminate against or harass anyone while working on behalf of AT&T, including
co-workers, contractors, vendors, or customers.

Employee Responsibilities

AT&T employees are responsible for understanding and complying with the Company's EEO and Harassment Policies.
Fai I ure to comp I y may res ult in disciplinary action, which can include dismissal even for a first offense.




                                                                                                                                   2



                                                                                                                 AT&T_Dolenti0000013


                                                                                                                         DEF 0002592
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We all have a responsibility to ensure that AT&T is free of discrimination and harassment. Therefore, employees are
responsible for reporting any violations of the EEO and Harassment Policies.

Manager Responsibilities

All managers a re responsible for enforcement of the Company's EEO and Harassment Policies by ensuring a work
environment free of uni awful discrimination and harassment. If a manager observes or receives any reports or a Ilegations
of conduct that could potentially violate the EEO and Harassment Policies, the manager has a responsibility to report it
immediately to Human Resources or the AT&T Hotline. Such allegations are investigated by Human Resources
professionals. Therefore, managers must always report them immediately and receive guidance from Human Resources or
an investigator on the next steps. In addition, supervisors are expected to:

•         Ensure coverage of the EEO and Harassment Policies with each direct report.
•         Ensure that coverage with each direct report is documented in his/her training history.
•         Acknowledge employees' differences and their individual value to AT&T.

Reporting a Concern

Employees should report a violation ofthe EEO and Harassment Policies to a supervisor, any manager, Human Resources,
directly to the AT&T Hotline (1-888-871-2622), or the AT&T Hotline Web Reportingsite (www.tnwgrc.com/att).

AT&T has established the AT&T Hotline for reporting EEO or harassment concerns anonymously and confidentially. The
Hotline is staffed by an independent third-party vendor contracted by AT&T. The reported complaint wi II be summarized
and forwarded to AT&T for further review.

Reports to the AT&T Hotl ine wi II be kept confidential to the extent permitted by law and by the Company's need to
properly investigate. If an investigation is undertaken, AT&T wi11 address the matter, and if needed, take appropriate
corrective action.

Non-Retaliation Policy

Any individual who suspects an EEO violation and makes a report is acting responsibly in accordance with the EEO and
Harassment Policies. TheCompany forbids retaliation against any person who makes a report or who participates in the
investigative process. Allegations of retaliationwil I be investigated and appropriate action wi II be taken. Any individual
engaging in reta Iiatory behavior wi II be subjectto disciplinary action, which may include termination of employment. For
any suspected retaliation concerns, contact the AT&T Hotline immediately.

Additional information on AT& T's non-retaliation pol icy c an be found at the fol I owing link:

http://intranet.att.com/corp-policies/Defa ult.aspx?section=l&page=44

Internal Investigations

AT&T investigates possible violations of federal, state , and localEEO statutes, and AT&T's EEO and Harassment Policies.
Employees are required to cooperate fully with theCompany's investigations, may not Ii e to investigators, obstruct the
investigation, or retaliate against those who participate. To the extent possible, confidentiality wi11 be maintained
consistent with legal and ethical responsibilities on behalf oftheCompany.

All complaints wil I be followed by a fair, complete and timely investiga ti on. Remedia I action wi11 be taken if any
misconduct is found.



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Important additional Company guidance on internal investigations should be reviewed at the following I ink:

http://intranet.att.com/ corp-policies/Default.aspx?sectio n=l&pa ge=44&subpage=142

Diversity

Diversity means respecting many backgrounds,cultures, and ways of thinking. AT&T recognizes and embraces all
differences -from race, gender, sexua I orientation, and menta I/physical ability to perspectives, experiences, and outlooks.
It is more than the right thing to do - diversity is essential to the success of AT&T in the global marketplace. AT&T
employees are responsible for promoting an environment of inclusion: one in which each individual is valued and every
voice is heard. Actions thatguide empl oyee commitment to diversity include:

•           Treating others with respect.
•           Encouraging and skillfully incorporating opinions and ideas.
•           Viewing differences as assets.
•           Accommodating various strengths.
•           Working together in mixed teams to design and implement creative solutions for our businesssuppliers and
            customers.
•           Serving our broad markets effective! y and sensitively.
•           Creating win-win solutions.
•           Being open to many viewpoints,cultures,and lifestyl es.
•           Participating in wide-ranging activities that sup port self-development and positive business rel ationships.

Equal Employment Opportunity

AT&T provides Equal Employment Opportunity for all employees and applicants in the administrati on of personnel policies
such as:

•           Appraisals
•           Benefits and privileges of employment
•           Compensation
•           Disciplinary actions
•           Recruiting, hiring, placements, upgrades, promotions, and lateral movement
•           Socia I and recreational programs
•           Terminations of empl oyment, layoffs, and recalls
•           Training and educational as sistance
•           Working conditions

All employees are prohibited from engaging in any discrimination based on a protected characteristic.

The Americans With Disabilities Act

The Americans with Disabilities Act (ADA) is a federal law that prohibits discrimination against individuals with disabilities.
AT&T's policies provide reasonable accommodations to qua I ified employees with disabilities when medica I restrictions
preclude them from performing an essential function of their current or desired job, uni ess the accommodation poses an
undue business hardship for AT&T.




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Under the law and these policies, AT&T, through the Integrated Disability Service Center (I DSC), engages in an interactive
process with employees who may require a reasonable accommodation of a disability as defined under the I aw. The I DSC
has established processes and proceduresregarding accommodating disabilities. Supervisors of employees who have
requested an accommodation of a disability should refer such employees to the I DSC at 866-276-2278. In certain cases,a
l eave may be appropriate as an accommodation. Supervisorsshould consult Human Resources for advice in these
situations.

Confidentiality

Contidenti a lity is assured for applicants and employees regarding medical information, and it wiII be kept confidential
except to the following extent: Supervisors and managers may be informed regarding necessary restrictions on the work or
duties ofthe employee and any necessary reasonable accommodations. First aid and safety personnel may be informed
where and to the extent appropriate, if the disability might require emergency treatment or assistance during evacuations.
Government officials who conduct compliance reviews may be informed.

AlI persons with responsibilitiesthat may require information about the disability,physical or mental,a re advised to treat
and protect the information as strictlyconfidential.

More information regarding the j ob accommodation process may be found at:

http://ebiz.sbc.com/hronestop/index.cfm ?fuseacti on =Display&type =JAHome

Pregnancy Discrimination

It is i Ilegal and in violation of this policyto discriminate against or harass an employee because of pregnancy. Pregnancy
discrimination involves treating a pregnant employee unfavorably because of pregnancy, childbirth, or other medical
condition related to pregnancy or chi Idbirth. Employees who are di sabled by pregnancy, childbirth, or related medical
conditions are entitled to apply for applicable disability benefits.

Religious Discrimination

AT&T's commitment to diversity extends to its commitment to respecting the religious beliefs of its employees. It is illegal
and in violation of this pol icy to discriminate or to harass an employee because of that employee's sincerely held religious
beliefs. AT&T's policies provide reasonable accommodations where an employee's sincerely held religious beliefs or
practicesa re impacted by job requirements, uni essthe accommodation imposes an undue business hardship for AT&T.
Supervisors of employees who request a religious accommodation should consult with Human Resources for guidance.

Military Status

AT&T respects and supports its employees who serve in the uniformed services. AT&T employees cal led to active duty
may apply for a military service l eave of absence under the Company's applicable leave policies.

Harassment Policy

The Company pro hibits allforms of harassmentwhi le working on beha lf of AT&T. This includes a II offensive behavior,
whether physical,verbal,written,printed, or displayed as inappropriate objects or images. Remarks,comments,jokes, or
gestures of an offensive nature wi II not be tolerated. Employees are prohibited from using any Company property,
including computers, mobile phones, or any other devices, to view, send, or receive offensive material. In addition ,




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employees are never permitted to display offensive material in the workplace, whether on Company or personal devices. All
offensive materiaIs are prohibited, including but not Iimited to materi aI offensive to another person's gender, race, or other
protected characteristic.

Sexual harassment is specifically prohibited in the workplace. In order to eliminate sexual harassment in the workplace, AT&T
prohibits itll_unprofessional behaviors including some that may go beyond the legal definition of sexual harassment.

What is Sexual Harassment?

Sexual harassment may involve unwelcome romantic or sexual advances, requests for sexual favors, and/or visual
materials, verbaI comments, or physical contact of a sexual nature, regardless of gender. Involved parties, either victim or
harasser, could be a co-worker, a subordinate, a contractor, or even a customer.

Such conduct is a violation of this policy, regardless whether an employee engaging in such behavior meant it as a joke.
Such communications, comments, actions of a sexual nature, or unwelcome advances are prohibited at AT&T, whether or
not other employees were offended.

The most obvious examples of sexuaI harassment involve physical behavior or physical contact. The fol lowing is a non­
exhaustive I ist of physical behaviors that may be considered offensive:

•         Touching an individual by massaging their neck or shoulders, hugging, kissing, patting, pinching, fondI ing, or
          touching/pulling an individual's clothing or hair.
•         Physical gestures that imply a sexuaI act or sexuaI anatomy; touching oneself in a sexual manner.
•         Brushing up against another person, standing too close, or Ii ngering.

However, sexual ly harassing behavior does not always involve physical contact. The fol lowing is a non-exhaustive I ist of
examples of verbaI and non-verbal/visual behavior that may be considered offensive:

•         Suggestive behavior such as "elevator eyes" (I ooking a person up and down), I eering, staring, sexual gestures,
          whistling, cat-calls, winking, throwing kisses, making kissing sounds, howling, groaning, or smacking/licking I ips.
•         Sexual comments or innuendoes about clothing, anatomy, appearance, or sexual jokes or stories.
•         Discussions or inquiries about sexualfantasy, preferences, history, or sex I ife; participation in workplace rumors
          about an individual's sex life.
•         Displaying sexually suggestive objects or pictures in the workplace.
•         Repeated invitations and/or pressuring for dates or sexual favors; harassing phone caI ls, e-maiIs, or other
          communication.
•         Giving personal gifts that imply an intimate relationship.
•         Sending sexually suggestive communications (e.g., instant messaging, Company message portals and/or devices,
          notes, letters, texts, e-maiIs); displaying or transmitting suggestive visuaI materials (e.g., pictures, calendars,
          posters).
•         StaI king, fol lowing, or blocking an individual's path.

In addition, it is a violation of this policy, and the I aw, for any employee to ever state, imply, or suggest that dating or
engaging in sexual conduct with another employee could resul t in a workplace benefit such as a promotion, raise, better
terms and conditions of employment- or that a refusal to date or engage in sexuaI conduct wil I negatively affect a
person's conditions of employment or career.




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AT&T's harassment rules apply in the workplace and in work-related settings outside the workplace, such as business trips,
customer visits, social events, or other functions. AT&T a I so does not to I erate such conduct from outside vendors and
other providers of goods or services to AT&T when they are working in AT&T-related settings.

Personal Relationships Policy

In accordanee with AT&T's Harassment and Conti ict of Interest Policies, a dating relationship, or any special personal
relationship, should never exist between a supervisor and an employee for whom the manager has some responsibility,
including employees who report directly or indirectly within that supervisor's chain of command. In other words, a
manager and another employee above or below that manager in the same chain of command, even if not directly above or
below that manager, may not have a romantic or other close, personal relationship. This includes any manager who has
influence over the employee's work, productivity, or terms and conditions of employment, such as an employee's trainer,
manager who regularly fills inas a relieving manager over the employee, or a manager who has any input regarding the
employee's performance. Moreover, such a relationship should never exist between an AT&T employee and a vendor
employee where that AT&T employee has some responsibility for recommending the services of or interacting with that
vendor or providing input on the vendor's work. These relationships can interfere with the s upervisor's independent
judgment, create employee morale problems, ethical issues, or conflict of interest, and may create a hostile work
environment.

To avoid these problems and to foster a positive team environment, a persona I relationship that may create a potential
conflict or the appearanee of a conflict under this policy must be reported immedi atel y to Human Resources. After
reviewing the facts, the Company wil I take appropriate action, which could i nclude transfer of either employee through job
reassignment or voluntary resignation. Failure to disclose the relationship immediately or comply with the Company's
decision is a violation of the EEO and Harassment Policies and the Code ofBusiness Conduct (COBC) Contiict of Interest
Pol icy, and may result in discipline up to and including dismissal.

More information may be found at:

http://intranet.att.com/corp -pol icies/Defa ult.aspx?section=7 &page=99

Sexual Harassment Prevention Training

Certain states require employers to provide sexual harassment training for employees. More information may be found at:

https:/Iintra.att.com/hronestopadmin/doc/State Requirements for Harassment Training.pdf

Additional Complaint Procedures

In addition to internal Company reporting methods, employees have the right to file a charge of discrimination with a
federal, state, or local agency. Al I charges of discrimination in which the Company is identified as a Respondent, including
charges received by a Company field location, should be immediately directed to the EEO group (which is responsible for
all Company communication with the agencies) at eeooffi ce@att.com.

For California Employees and Their Supervisors:

California state law requires employers to distribute to employees in California certain i nformation about sexual
harassment. This information is available on the brochure titied "Sexual Harassment: The Facts About Sexua I Harassment"
(DFEH-185) and is available at




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https ://s pfd03.web.att.com/sites/MandatoryPosters/Mand atory%20Faci Iity%20 Posters/California%20Posters/CA%20DFE
H-185%20Sexua 1%20Harassment.pdf. Please note that all California employees and their supervisors are required to
access this brochure and review the information.

Supervisors, managers, co-workers and third parties are prohibited from engaging in unlawful behavior under the
California Fair Employment and Housing Act.

California employees or job applicants who believe that they have been sexua Ily harassed may file a complaint with the
California Department of Fair Employment and Housing(DFEH) within one year of the alleged harassment. For more
information, contact the DFEH tol I free at (800) 884-1684, Sacramento and out of state at(916) 4 78-7200, or nY at(800)
700-2320. You may al so contact the DFEH via emai I at contact.center@dfeh.ca.gov or visit the DFEH's Web site at
http://www.dfeh.ca.gov/.

California Iaw requires employers to provide employees notice of thei r rights and obligations under the Fair Employment
and Housing Act with respect to pregnancy, childbirth, and related medical conditions. This information is available in
Notice B, "Family Care and Medical Leave and Pregnancy Disability Leave" and is available at
https ://s pfd03.web.att.com/sites/MandatoryPosters/Mand atory%20Faci Iity%20 Posters/California%2 OPoste rs/California%
20 FM LA.pdf. Please note that all California employees and their supervisors are required to access this notice and
review the information.

Frequently Asked Questions

Your Responsibility as an Employee and/or Supervisor

Q. Are al I AT& T employees responsible for ensuring their actions are conducted in accordance with AT& T's Equal
Employment Opportunity (EEO) and Harassment Policies?

A. Yes. Failure to comply with these policies may result in disciplinary action, which can include dismissal even for a first
offense. Supervisors are responsible for ensuring the work environment is free of uni awful discrimination and harassment.

Q. If you believe you have been subjected to unlawful discrimination, harassment, and/or retal iation or have knowledge of
conduct prohibited under the Policy, are you responsible for reporting the matter?

A. Yes. We are a II responsible for speaking up if we believe that someone at AT&T has violated the EEO and Harassment
policies. If a manager observes or receives any reports or a Ilegations of conduct which could potentially vi olate the EEO
and Harassment policies, the manager has a responsibility to report it i mmediately to Human Resources or the AT&T
Hotline.

Non-Retaliation Policy

Q. Are employees who raise concerns or who participate in an i nterna Ii nvestigation protected from retaliation?

A. Yes. Any individual who seeks advice, raises a concern, or reports an EEO concern is following the EEO and Harassment
Policies. AT&T will not tolerate retaliation against such a person.

Internal Investigations

Q. Are employees guaranteed complete confidentiality or anonymity?

A. Investigators willmaintain confidentiality or anonymity to the extent al Iowable by Iaw and where the confidentiality
and anonymity does not impede the integrity of the investigation.


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Sexual and Other Harassment

Q. Is it okay for a supervisor and a subordinate to have a close personal relationship or a dating relationship?

A. No. Any dating relationship or close personal rel ationshipwithi n the chain of command is prohibited. This also includes
a supervisor who has influence over an employee's work, productivity, or terms and conditions of employment. Fai I ure to
report the relationship immediately is a violation of the pol icy.

Q. Can sexual harassment occur between individualsof the same sex?

A. Yes. Sexual harassment can happen between individuals of the same sex as wel I as the opposite sex.

Q. Are jokes a bout sex, race, age, religion, ethnicity, or any other jokes made at the expense of others appropriate in the
work place?

A. No. Jokes made at the expense of any person or class of persons are prohibited.

Disability

Q. Does AT&T accommodate disabilities?

A. Yes. It is AT&T's pol icy to provide reasonable accommodations to qua I ified employees with disabilities when medical
restrictions preclude them from performing an essentia I function of thei r current or desired job, uni ess the
accommodation poses an undue business hardship for AT&T.




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GAGE DECLARATION
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Equal Employment Opportunity (EEO) and
Harassment Policies




AT&T Proprietary (Internal Use Only) Not for use or disclosure outside the AT&T companies except under written agreement. 7/13/2018




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Introduction and Policy Statement


AT&T is strongly committed to a workplace that values diversity and inclusion and that is free of discrimination and
harassment of any kind. AT&T's EEO and Harassment Policies apply to all AT&T employees.

AT&T employees are protected from unlawful discrimination on the basis of race, color, religion, religious creed, national
origin, ancestry, age, sex, sexual orientation, gender, gender identity, gender expression, physical disability, mental
disability, pregnancy, medical condition, genetic information, marital status, citizenship status, military status, veteran
status, or any other characteristic protected by federal, state, or local laws. For instance, New York City also prohibits
discrimination on the basis of creed. AT&T complies with these and other applicable EEO laws, and prohibits unlawful
discrimination.

AT&T also strictly prohibits all forms of abusive conduct or workplace harassment, including sexual and racial harassment
and harassment based on any of the protected characteristics described above. An employee's actions, words, or
behavior must not create an intimidating, hostile, or offensive environment. Employees are not permitted to ridicule,
intimidate, threaten, demean, or bully other employees, customers, vendor employees, or any other individuals with whom
they interact. Remarks, comments, jokes, slurs, images, gestures, messages, or social media posts of an offensive nature
will not be tolerated.

It is a violation of this policy to unlawfully discriminate against or harass anyone while working on behalf of AT&T, including
co-workers, contractors, vendors, or customers.

Employee Responsibilities

AT&T employees are responsible for understanding and complying with the Company's EEO and Harassment Policies.
Failure to comply may result in disciplinary action, which can include dismissal even for a first offense.



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We all have a responsibility to ensure that AT&T is free of discrimination and harassment. Therefore, employees are
responsible for reporting any violations of the EEO and Harassment Policies.

Manager Responsibilities

All managers are responsible for enforcement of the Company's EEO and Harassment Policies by ensuring a work
environment free of unlawful discrimination and harassment. If a manager observes or receives any reports or allegations
of conduct that could potentially violate the EEO and Harassment Policies, the manager has a responsibility to report it
immediately to Human Resources or the AT&T Hotline. Such allegations are investigated by a team of EEO investigators.
Therefore, managers must always report them immediately and receive guidance from an investigator on the next steps.
In addition, supervisors are expected to:

•         Ensure coverage of the EEO and Harassment Policies with each direct report.
•         Ensure that coverage with each direct report is documented in his/her training history.
•         Acknowledge employees' differences and their individual value to AT&T.

Reporting a Concern

Employees should report a violation of the EEO and Harassment Policies to a supervisor, any manager, Human Resources, directly
to the AT&T Hotline (1-888-871-2622), or the AT&T Hotline Web Reporting site
https://app.mycompliancereport.com/report.aspx?cid=att.

AT&T has established the AT&T Hotline for reporting EEO or harassment concerns anonymously and confidentially. The
Hotline is staffed by an independent third-party vendor contracted by AT&T. The reported complaint will be summarized
and forwarded to AT&T for further review.

Reports to the AT&T Hotline will be kept confidential to the extent permitted by law and by the Company's need to
properly investigate. If an investigation is undertaken, and if needed, AT&T will take appropriate corrective action.

Non-Retaliation Policy

Any individual who suspects an EEO violation and makes a report is acting responsibly in accordance with the EEO and
Harassment Policies. The Company forbids retaliation against any person who makes a report or who participates in the
investigative process. Allegations of retaliation will be investigated and appropriate action will be taken. Any individual
engaging in retaliatory behavior will be subject to disciplinary action, which may include termination of employment. For
any suspected retaliation concerns, contact the AT&T Hotline immediately.

Additional information on AT&T's non-retaliation policy can be found at the following link:

http://intranet.att.com/corp-po1icies/Default.aspx?section=1&page=44

Internal Investigations

AT&T investigates possible violations of federal, state, and local EEO statutes, and AT&Ts EEO and Harassment Policies.
Employees are required to cooperate fully with the Company's investigations, may not lie to investigators, obstruct the
investigation, or retaliate against those who participate. Anyone who refuses to cooperate with an investigation, lies to
investigators, obstructs or attempts to obstruct an investigation, or engages in retaliatory conduct will be subject to
discipline, including termination. To the extent possible, confidentiality will be maintained consistent with legal and ethical
responsibilities on behalf of the Company.

All complaints will be investigated and remedial action will be taken if any misconduct is found.


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Important additional Company guidance on internal investigations should be reviewed at the following link:

http://intranet.att.com/corp-po1icies/Default.aspx?section=1&page=44&subpage=142

Diversity

Diversity means respecting many backgrounds, cultures, and ways of thinking. AT&T recognizes and embraces all
differences - from race, gender, sexual orientation, and mental/physical ability to perspectives, experiences, and outlooks.
It is more than the right thing to do - diversity is essential to the success of AT&T in the global marketplace. AT&T
employees are responsible for promoting an environment of inclusion: one in which each individual is valued and every
voice is heard. Actions that guide employee commitment to diversity include:

•           Treating others with respect.
•           Encouraging and skillfully incorporating opinions and ideas.
•           Viewing differences as assets.
•           Accommodating various strengths.
•           Working together in mixed teams to design and implement creative solutions for our business suppliers and
            customers.
•           Serving our broad markets effectively and sensitively.
•           Creating win-win solutions.
•           Being open to many viewpoints, cultures, and lifestyles.
•           Participating in wide-ranging activities that support self-development and positive business relationships.

Equal Employment Opportunity

AT&T provides Equal Employment Opportunity for all employees and applicants in the administration of personnel policies
such as:

•           Appraisals
•           Benefits and privileges of employment
•           Compensation and benefits
•           Disciplinary actions
•           Recruiting, hiring, placements, upgrades, promotions, and lateral movement
•           Social and recreational programs
•           Terminations of employment, layoffs, and recalls
•           Training and educational assistance
•           Working conditions

All employees are prohibited from engaging in any discrimination based on a protected characteristic.

The Americans With Disabilities Act

The Americans with Disabilities Act (ADA) is a federal law that prohibits discrimination against individuals with disabilities.
AT&Ts policies provide reasonable accommodations to qualified employees with disabilities when medical restrictions
preclude them from performing an essential function of their current or desired job, unless the accommodation poses an
undue business hardship for AT&T.




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Under the law and these policies, AT&T, through the Integrated Disability Service Center (IDSC), engages in an interactive
process with employees who may require a reasonable accommodation of a disability as defined under the law. The IDSC
has established processes and procedures regarding accommodating disabilities. Supervisors of employees who have
requested an accommodation of a disability should refer such employees to the IDSC at 866-276-2278. In certain cases, a
leave may be appropriate as an accommodation. Supervisors should consult Human Resources for advice in these
situations.

Confidentiality

Confidentiality is assured for applicants and employees regarding medical information, and it will be kept confidential
except to the following extent: Supervisors and managers may be informed regarding necessary restrictions on the work or
duties of the employee and any necessary reasonable accommodations. First aid and safety personnel may be informed
where and to the extent appropriate, if the disability might require emergency treatment or assistance during evacuations.
Government officials who conduct compliance reviews may be informed.

All persons with responsibilities that may require information about the disability, physical or mental, are advised to treat
and protect the information as strictly confidential.

More information regarding the job accommodation process may be found at https://www.e­
access.att.com/hronestop/group/hr-onestop/job-accommodations

Pregnancy Discrimination

It is illegal and in violation of this policy to discriminate against or harass an employee because of pregnancy. Pregnancy
discrimination involves treating a pregnant employee unfavorably because of pregnancy, childbirth, or other medical
condition related to pregnancy or childbirth, including but not limited to lactation. Employees who are disabled by
pregnancy, childbirth, or related medical conditions are entitled to apply for applicable disability benefits.

Religious Discrimination

AT&T's commitment to diversity extends to its commitment to respecting the religious beliefs of its employees. It is illegal
and in violation of this policy to discriminate or to harass an employee because of that employee's sincerely held religious
beliefs. AT&T's policies provide reasonable accommodations where an employee's sincerely held religious beliefs or
practices are impacted by job requirements, unless the accommodation imposes an undue business hardship for AT&T.
Supervisors of employees who request a religious accommodation should consult with Human Resources for guidance.

Military Status

AT&T respects and supports its employees who serve in the uniformed services. AT&T employees called to active duty
may apply for a military service leave of absence under the Company's applicable leave policies.

Harassment Policy

The Company prohibits all forms of harassment while working on behalf of AT&T. This includes all offensive behavior,
whether physical, verbal, written, printed, or displayed as inappropriate objects or images. Remarks, comments, jokes,
gestures, messages or social media posts of an offensive nature will not be tolerated. Employees are prohibited from using
any Company property, including computers, mobile phones, or any other devices, to view, send, or receive offensive
material. In addition,




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employees are never permitted to display offensive material in the workplace, whether on Company or personal devices. All
offensive materials are prohibited, including but not limited to material offensive to another person's gender, race, or other
protected characteristic.

Sexual harassment is specifically prohibited in the workplace. In order to eliminate sexual harassment in the workplace, AT&T
prohibits �unprofessional behaviors including some that may go beyond the legal definition of sexual harassment.

What is Sexual Harassment?

Sexual harassment may involve unwelcome romantic or sexual advances, requests for sexual favors, and/or visual
materials, verbal comments, or physical contact of a sexual nature, regardless of gender. Involved parties, either victim or
harasser, could be a co-worker, a subordinate, manager/supervisor, a contractor, or even a customer.

Such conduct is a violation of this policy, even in instances where the offending employee may have acted jokingly. Such
communications, comments, actions of a sexual nature, or unwelcome advances are prohibited at AT&T, whether or not
other employees were offended.

The most obvious examples of sexual harassment involve physical behavior or physical contact. The following is a non­
exhaustive list of physical behaviors that may be considered offensive:

•         Touching an individual by massaging their neck or shoulders, hugging, kissing, patting, pinching, fondling, or
          touching/pulling an individual's clothing or hair.
•         Physical gestures that imply a sexual act or sexual anatomy; touching oneself in a sexual manner.
•         Brushing up against another person, standing too close, or lingering.

However, sexually harassing behavior does not always involve physical contact. The following is a non-exhaustive list of
examples of verbal and non-verbal/visual behavior that may be considered offensive:

•         Suggestive behavior such as "elevator eyes" (looking a person up and down), leering, staring, sexual gestures,
          whistling, cat-calls, winking, throwing kisses, making kissing sounds, howling, groaning, or smacking/licking lips.
•         Sexual comments or innuendoes about clothing, anatomy, appearance, or sexual jokes or stories.
•         Discussions or inquiries about sexual fantasy, preferences, history, or sex life about self or others.
•         Displaying sexually suggestive objects or pictures in the workplace.
•         Repeated invitations and/or pressuring for dates or sexual favors; harassing phone calls, e-mails, or other
          communication.
•         Giving personal gifts that imply an intimate relationship.
•         Sending sexually suggestive communications (e.g., instant messaging, Company message portals and/or devices,
          notes, letters, texts, e-mails); displaying or transmitting suggestive visual materials (e.g., pictures, calendars,
          posters).
•         Stalking, following, or blocking an individual's path.

In addition, it is a violation of this policy, and the law, for any employee to ever_state, imply, or suggest that dating or
engaging in sexual conduct with another employee could result in a workplace benefit such as a promotion, raise, better
terms and conditions of employment - or that a refusal to date or engage in sexual conduct will negatively affect a
person's conditions of employment or career.




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AT&T's Harassment policy and COBC rules apply in the workplace and in work-related settings outside the workplace, such as
business trips, customer visits, social events, or other functions. AT&T also does not tolerate such conduct from outside
vendors and other providers of goods or services to AT&T when they are working in AT&T-related settings.

Personal Relationships Policy

In accordance with AT&T's Harassment and Conflict of Interest Policies, a dating relationship, or any special personal
relationship, should never exist between a supervisor and an employee for whom the manager has some responsibility,
including employees who report directly or indirectly within that supervisor's chain of command. In other words, a
manager and another employee above or below that manager in the same chain of command, even if not directly above or
below that manager, may not have a romantic or other close, personal relationship. This includes any manager who has
influence over the employee's work, productivity, or terms and conditions of employment, such as an employee's trainer,
manager who regularly fills in as a relieving manager over the employee, or a manager who has any input regarding the
employee's performance. Moreover, such a relationship should never exist between an AT&T employee and a vendor
employee where that AT&T employee has some responsibility for recommending the services of or interacting with that
vendor or providing input on the vendor's work. These relationships can interfere with the supervisor's independent
judgment, create employee morale problems, ethical issues, or conflict of interest, and may create a hostile work
environment.

To avoid these problems and to foster a positive team environment, a personal relationship that may create a potential
conflict or the appearance of a conflict under this policy must be reported immediately to Human Resources. After
reviewing the facts, the Company will take appropriate action, which could include transfer of either employee through job
reassignment or voluntary resignation. Failure to disclose the relationship immediately or comply with the Company's
decision is a violation of the EEO and Harassment Policies and the Code of Business Conduct (COBC) Conflict of Interest
Policy, and may result in discipline up to and including dismissal.

More information may be found at:

http:/Iintranet.att.com/corp-po Iicies/Defau It.aspx ?section= 7& page=99

Sexual Harassment Prevention Training
Certain states require employers to provide sexual harassment training for employees. More information may be found at:
https://www.e-
access.att.com/hronestop/documents/33859/10774655/State Requirements for Harassment Training.pdf/fa7d0d55-41db­
ca77-3818-0abdd0de5e81

Additional Complaint Procedures

In addition to internal Company reporting methods, employees have the right to file a charge of discrimination with a
federal, state, or local agency. All charges of discrimination in which the Company is identified as a Respondent, including
charges received by a Company field location, should be immediately directed to the EEO group (which is responsible for
all Company communication with the agencies) at eeooffice@att.com.

For Illinois Employees and Their Supervisors:

In addition to the reporting channels identified above, Illinois employees may also report allegations of sexual harassment to the
Illinois Secretary of State Inspector General's Office {(217) 785-2012 or (630) 424-2564} or the Department of Human Rights
{Chicago office: (312) 814-6200 or Springfield office (217) 785-5100}. Whistleblower protections are also available under the
Illinois Whistleblower Act and the Illinois Human Rights Act.



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For California Employees and Their Supervisors:

California state law requires employers to distribute to employees in California certain information about sexual
harassment. This information is available on the brochure titled "Sexual Harassment: The Facts About Sexual Harassment"
(DFEH-185) and is available at
 https://www.e-access.att.com/hronestop/documents/33859/10774655/CA Sexua1HarassmentPamphlet.pdf/1238b39c-
77a0-2049-9e4b-06d7cbaeb641. Please note that all California employees and their supervisors are required to access
this brochure and review the information.

Supervisors, managers, co-workers and third parties are prohibited from engaging in unlawful behavior under the
California Fair Employment and Housing Act.

California employees or job applicants who believe that they have been sexually harassed may file a complaint with the
California Department of Fair Employment and Housing (DFEH) within one year of the alleged harassment. For more
information, contact the DFEH toll free at (800) 884-1684, Sacramento and out of state at (916) 478-7200, or TIY at (800)
700-2320. You may also contact the DFEH via email at contact.center@dfeh.ca.gov or visit the DFEH's Web site at
https://www.dfeh.ca.gov/.

California law requires employers to provide employees notice of their rights and obligations under the Fair Employment
and Housing Act with respect to pregnancy, childbirth, and related medical conditions. This information is available in
Notice B, "Family Care and Medical Leave and Pregnancy Disability Leave" and is available at
https://www.e-
access.att.com/hronestop/documents/33859/10774655/CA Rights Obligations Pregnant Employee.pdf/4338c358-b600-51c1-
b9a4-clb311eb2eb2. Please note that all California employees and their supervisors are required to access this notice and
review the information.

For New Jersey Employees and Their Supervisors:

The state of New Jersey requires that all employers notify employees annually of the New Jersey Gender Equity in Pay,
Compensation, Benefits or Other Terms or Conditions of Employment Notification. New Jersey and Federal laws prohibit
employers from discriminating against an individual with respect to his/her pay, compensation, benefits, or terms,
conditions, or privileges of employment because of the individual's gender. This information is available on the NJ Gender
Equity notification and is available at https://www.e-
access.att.com/hronestop/documents/33859/10774655/NJ Gender Equity.pdf/c538fad7-4af6-1671-7c4d-179754e945b4


Frequently Asked Questions

Your Responsibility as an Employee and/or Supervisor

Q. Are all AT&T employees responsible for ensuring their actions are conducted in accordance with AT&T's Equal
Employment Opportunity (EEO) and Harassment Policies?

A. Yes. Failure to comply with these policies may result in disciplinary action, which can include dismissal even for a first
offense. Supervisors are responsible for ensuring the work environment is free of unlawful discrimination and harassment.

Q. If you believe you have been subjected to unlawful discrimination, harassment, and/or retaliation or have knowledge of
conduct prohibited under the Policy, are you responsible for reporting the matter?

A. Yes. We are all responsible for speaking up if we believe that someone at AT&T has violated the EEO and Harassment
Policies. If a manager observes or receives any reports or allegations of conduct which could potentially violate the EEO
and Harassment policies, the manager has a responsibility to report it immediately to Human Resources or the AT&T
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Hotline at 1-888-871-2622.

Non-Retaliation Policy

Q. Are employees who raise concerns or who participate in an internal investigation protected from retaliation?

A. Yes. Any individual who seeks advice, raises a concern, or reports an EEO concern is following the EEO and Harassment
Policies. AT&T will not tolerate retaliation against such a person.

Internal Investigations

Q. Are employees guaranteed complete confidentiality or anonymity?

A. Investigators will maintain confidentiality or anonymity to the extent allowable by law and where the confidentiality
and anonymity does not impede the integrity of the investigation.

Sexual and Other Harassment

Q. Is it okay for a supervisor and a subordinate (including contractors) to have a close personal relationship or a dating
relationship?

A. No. Any dating relationship or close personal relationship within the chain of command is prohibited. This also includes
a supervisor who has influence over an employee's work, productivity, or terms and conditions of employment. Failure by
either party to report the relationship immediately is a violation of the policy.

Q. Can sexual harassment occur between individuals of the same sex?

A. Yes. Sexual harassment can happen between individuals of the same sex as well as the opposite sex.

Q. Are jokes about sex, race, age, religion, ethnicity, or any other jokes made at the expense of others appropriate in the
work place?

A. No. Jokes made at the expense of any person or class of persons are prohibited.

Disability

Q. Does AT&T accommodate disabilities?

A. Yes. It is AT&Ts policy to provide reasonable accommodations to qualified employees with disabilities when medical
restrictions preclude them from performing an essential function of their current or desired job, unless the
accommodation poses an undue business hardship for AT&T.




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GAGE DECLARATION
   EXHIBIT 33
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Equal Employment Opportunity (EEO) and
Harassment Policies




AT&T Proprietary (Internal Use Only) Not for use or disclosure outside the AT&T companies except under written agreement. 1/1/2018




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Introduction and Policy Statement


AT&T is strongly committed to a workplace that values diversity and inclusion and that is free of discrimination and
harassment of any kind. AT&T's EEO and Harassment Policies apply to all AT&T employees.

AT&T employees are protected from unlawful discrimination on the basis of race, color, religion, religious creed, national
origin, ancestry, age, sex, sexual orientation, gender, gender identity, gender expression, physical disability, mental
disability, pregnancy, medical condition, genetic information, marital status, citizenship status, military status, veteran
status, or any other characteristic protected by federal, state, or local laws. For instance, New York City also prohibits
discrimination on the basis of creed. AT&T complies with these and other applicable EEO laws, and prohibits unlawful
discrimination.

AT&T also strictly prohibits all forms of abusive conduct or workplace harassment, including sexual and racial harassment
and harassment based on any of the protected characteristics described above. An employee's actions, words, or
behavior must not create an intimidating, hostile, or offensive environment. Employees are not permitted to ridicule,
intimidate, threaten, demean, or bully other employees, customers, vendor employees, or any other individuals with
whom they interact. Remarks, comments, jokes, slurs, images, or gestures of an offensive nature will not be tolerated.

It is a violation of this policy to unlawfully discriminate against or harass anyone while working on behalf of AT&T, including
co-workers, contractors, vendors, or customers.

Employee Responsibilities

AT&T employees are responsible for understanding and complying with the Company's EEO and Harassment Policies.
Failure to comply may result in disciplinary action, which can include dismissal even for a first offense.




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We all have a responsibility to ensure that AT&T is free of discrimination and harassment. Therefore, employees are
responsible for reporting any violations of the EEO and Harassment Policies.

Manager Responsibilities

All managers are responsible for enforcement of the Company's EEO and Harassment Policies by ensuring a work
environment free of unlawful discrimination and harassment. If a manager observes or receives any reports or allegations
of conduct that could potentially violate the EEO and Harassment Policies, the manager has a responsibility to report it
immediately to Human Resources or the AT&T Hotline. Such allegations are investigated by Human Resources
professionals. Therefore, managers must always report them immediately and receive guidance from Human Resources or
an investigator on the next steps. In addition, supervisors are expected to:

•        Ensure coverage of the EEO and Harassment Policies with each direct report.
•        Ensure that coverage with each direct report is documented in his/her training history.
•        Acknowledge employees' differences and their individual value to AT&T.

Reporting a Concern

Employees should report a violation of the EEO and Harassment Policies to a supervisor, any manager, Human Resources,
directly to the AT&T Hotline (1-888-871-2622), or the AT&T Hotline Web Reporting site
https://app.mycompliancereport.com/report.aspx?cid=att.

AT&T has established the AT&T Hotline for reporting EEO or harassment concerns anonymously and confidentially. The
Hotline is staffed by an independent third-party vendor contracted by AT&T. The reported complaint will be summarized
and forwarded to AT&T for further review.

Reports to the AT&T Hotline will be kept confidential to the extent permitted by law and by the Company's need to
properly investigate. If an investigation is undertaken, AT&T will address the matter, and if needed, take appropriate
corrective action.

Non-Retaliation Policy

Any individual who suspects an EEO violation and makes a report is acting responsibly in accordance with the EEO and
Harassment Policies. The Company forbids retaliation against any person who makes a report or who participates in the
investigative process. Allegations of retaliation will be investigated and appropriate action will be taken. Any individual
engaging in retaliatory behavior will be subject to disciplinary action, which may include termination of employment. For
any suspected retaliation concerns, contact the AT&T Hotline immediately.

Additional information on AT&T's non-retaliation policy can be found at the following link:

http://intranet.att.com/corp-policies/Default.aspx?section=1&page=44

Internal Investigations

AT&T investigates possible violations of federal, state, and local EEO statutes, and AT&T's EEO and Harassment Policies.
Employees are required to cooperate fully with the Company's investigations, may not lie to investigators, obstruct the
investigation, or retaliate against those who participate. To the extent possible, confidentiality will be maintained
consistent with legal and ethical responsibilities on behalf of the Company.

All complaints will be followed by a fair, complete and timely investigation. Remedial action will be taken if any
misconduct is found.


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Important additional Company guidance on internal investigations should be reviewed at the following link:

http://intranet.att.com/corp-po1icies/Default.aspx?section=1&page=44&subpage=142

Diversity

Diversity means respecting many backgrounds, cultures, and ways of thinking. AT&T recognizes and embraces all
differences - from race, gender, sexual orientation, and mental/physical ability to perspectives, experiences, and outlooks.
It is more than the right thing to do - diversity is essential to the success of AT&T in the global marketplace. AT&T
employees are responsible for promoting an environment of inclusion: one in which each individual is valued and every
voice is heard. Actions that guide employee commitment to diversity include:

•           Treating others with respect.
•           Encouraging and skillfully incorporating opinions and ideas.
•           Viewing differences as assets.
•           Accommodating various strengths.
•           Working together in mixed teams to design and implement creative solutions for our business suppliers and
            customers.
•           Serving our broad markets effectively and sensitively.
•           Creating win-win solutions.
•           Being open to many viewpoints, cultures, and lifestyles.
•           Participating in wide-ranging activities that support self-development and positive business relationships.

Equal Employment Opportunity

AT&T provides Equal Employment Opportunity for all employees and applicants in the administration of personnel policies
such as:

•           Appraisals
•           Benefits and privileges of employment
•           Compensation
•           Disciplinary actions
•           Recruiting, hiring, placements, upgrades, promotions, and lateral movement
•           Social and recreational programs
•           Terminations of employment, layoffs, and recalls
•           Training and educational assistance
•           Working conditions

All employees are prohibited from engaging in any discrimination based on a protected characteristic.

The Americans With Disabilities Act

The Americans with Disabilities Act (ADA) is a federal law that prohibits discrimination against individuals with disabilities.
AT&Ts policies provide reasonable accommodations to qualified employees with disabilities when medical restrictions
preclude them from performing an essential function of their current or desired job, unless the accommodation poses an
undue business hardship for AT&T.




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Under the law and these policies, AT&T, through the Integrated Disability Service Center (IDSC), engages in an interactive
process with employees who may require a reasonable accommodation of a disability as defined under the law. The IDSC
has established processes and procedures regarding accommodating disabilities. Supervisors of employees who have
requested an accommodation of a disability should refer such employees to the IDSC at 866-276-2278. In certain cases, a
leave may be appropriate as an accommodation. Supervisors should consult Human Resources for advice in these
situations.

Confidentiality

Confidentiality is assured for applicants and employees regarding medical information, and it will be kept confidential
except to the following extent: Supervisors and managers may be informed regarding necessary restrictions on the work or
duties of the employee and any necessary reasonable accommodations. First aid and safety personnel may be informed
where and to the extent appropriate, if the disability might require emergency treatment or assistance during evacuations.
Government officials who conduct compliance reviews may be informed.

All persons with responsibilities that may require information about the disability, physical or mental, are advised to treat
and protect the information as strictly confidential.

More information regarding the job accommodation process may be found at:
http://ebiz. sbc.com/h ro nestop/index.cfm ?fuseaction= Display&type=JAHo me.

Pregnancy Discrimination

It is illegal and in violation of this policy to discriminate against or harass an employee because of pregnancy. Pregnancy
discrimination involves treating a pregnant employee unfavorably because of pregnancy, childbirth, or other medical
condition related to pregnancy or childbirth. Employees who are disabled by pregnancy, childbirth, or related medical
conditions are entitled to apply for applicable disability benefits.

Religious Discrimination

AT&T's commitment to diversity extends to its commitment to respecting the religious beliefs of its employees. It is illegal
and in violation of this policy to discriminate or to harass an employee because of that employee's sincerely held religious
beliefs. AT&T's policies provide reasonable accommodations where an employee's sincerely held religious beliefs or
practices are impacted by job requirements, unless the accommodation imposes an undue business hardship for AT&T.
Supervisors of employees who request a religious accommodation should consult with Human Resources for guidance.

Military Status

AT&T respects and supports its employees who serve in the uniformed services. AT&T employees called to active duty
may apply for a military service leave of absence under the Company's applicable leave policies.

Harassment Policy

The Company prohibits all forms of harassment while working on behalf of AT&T. This includes all offensive behavior,
whether physical, verbal, written, printed, or displayed as inappropriate objects or images. Remarks, comments, jokes, or
gestures of an offensive nature will not be tolerated. Employees are prohibited from using any Company property,
including computers, mobile phones, or any other devices, to view, send, or receive offensive material. In addition,




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employees are never permitted to display offensive material in the workplace, whether on Company or personal devices. All
offensive materials are prohibited, including but not limited to material offensive to another person's gender, race, or other
protected characteristic.

Sexual harassment is specifically prohibited in the workplace. In order to eliminate sexual harassment in the workplace, AT&T
prohibits �unprofessional behaviors including some that may go beyond the legal definition of sexual harassment.

What is Sexual Harassment?

Sexual harassment may involve unwelcome romantic or sexual advances, requests for sexual favors, and/or visual
materials, verbal comments, or physical contact of a sexual nature, regardless of gender. Involved parties, either victim or
harasser, could be a co-worker, a subordinate, a contractor, or even a customer.

Such conduct is a violation of this policy, regardless whether an employee engaging in such behavior meant it as a joke.
Such communications, comments, actions of a sexual nature, or unwelcome advances are prohibited at AT&T, whether or
not other employees were offended.

The most obvious examples of sexual harassment involve physical behavior or physical contact. The following is a non­
exhaustive list of physical behaviors that may be considered offensive:

•         Touching an individual by massaging their neck or shoulders, hugging, kissing, patting, pinching, fondling, or
          touching/pulling an individual's clothing or hair.
•         Physical gestures that imply a sexual act or sexual anatomy; touching oneself in a sexual manner.
•         Brushing up against another person, standing too close, or lingering.

However, sexually harassing behavior does not always involve physical contact. The following is a non-exhaustive list of
examples of verbal and non-verbal/visual behavior that may be considered offensive:

•        Suggestive behavior such as "elevator eyes" (looking a person up and down), leering, staring, sexual gestures,
         whistling, cat-calls, winking, throwing kisses, making kissing sounds, howling, groaning, or smacking/licking lips.
•        Sexual comments or innuendoes about clothing, anatomy, appearance, or sexual jokes or stories.
•        Discussions or inquiries about sexual fantasy, preferences, history, or sex life; participation in workplace rumors
         about an individual's sex life.
•        Displaying sexually suggestive objects or pictures in the workplace.
•        Repeated invitations and/or pressuring for dates or sexual favors; harassing phone calls, e-mails, or other
         communication.
•        Giving personal gifts that imply an intimate relationship.
•        Sending sexually suggestive communications (e.g., instant messaging, Company message portals and/or devices,
         notes, letters, texts, e-mails); displaying or transmitting suggestive visual materials (e.g., pictures, calendars,
         posters).
•        Stalking, following, or blocking an individual's path.

In addition, it is a violation of this policy, and the law, for any employee to ever state, imply, or suggest that dating or
engaging in sexual conduct with another employee could result in a workplace benefit such as a promotion, raise, better
terms and conditions of employment - or that a refusal to date or engage in sexual conduct will negatively affect a
person's conditions of employment or career.




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AT&T's harassment rules apply in the workplace and in work-related settings outside the workplace, such as business trips,
customer visits, social events, or other functions. AT&T also does not tolerate such conduct from outside vendors and
other providers of goods or services to AT&T when they are working in AT&T-related settings.

Personal Relationships Policy

In accordance with AT&T's Harassment and Conflict of Interest Policies, a dating relationship, or any special personal
relationship, should never exist between a supervisor and an employee for whom the manager has some responsibility,
including employees who report directly or indirectly within that supervisor's chain of command. In other words, a
manager and another employee above or below that manager in the same chain of command, even if not directly above or
below that manager, may not have a romantic or other close, personal relationship. This includes any manager who has
influence over the employee's work, productivity, or terms and conditions of employment, such as an employee's trainer,
manager who regularly fills in as a relieving manager over the employee, or a manager who has any input regarding the
employee's performance. Moreover, such a relationship should never exist between an AT&T employee and a vendor
employee where that AT&T employee has some responsibility for recommending the services of or interacting with that
vendor or providing input on the vendor's work. These relationships can interfere with the supervisor's independent
judgment, create employee morale problems, ethical issues, or conflict of interest, and may create a hostile work
environment.

To avoid these problems and to foster a positive team environment, a personal relationship that may create a potential
conflict or the appearance of a conflict under this policy must be reported immediately to Human Resources. After
reviewing the facts, the Company will take appropriate action, which could include transfer of either employee through job
reassignment or voluntary resignation. Failure to disclose the relationship immediately or comply with the Company's
decision is a violation of the EEO and Harassment Policies and the Code of Business Conduct (COBC) Conflict of Interest
Policy, and may result in discipline up to and including dismissal.

More information may be found at:

http:/Iintranet.att.com/corp-po Iicies/Defau It.aspx ?section=7&page=99

Sexual Harassment Prevention Training

Certain states require employers to provide sexual harassment training for employees. More information may be found at:

https://intra.att.com/hronestopadmin/doc/State Requirements for Harassment Training.pdf

Additional Complaint Procedures

In addition to internal Company reporting methods, employees have the right to file a charge of discrimination with a
federal, state, or local agency. All charges of discrimination in which the Company is identified as a Respondent, including
charges received by a Company field location, should be immediately directed to the EEO group (which is responsible for
all Company communication with the agencies) at eeooffice@att.com.

For Illinois Employees and Their Supervisors:

In addition to the reporting channels identified above, Illinois employees may also report allegations of sexual harassment to the
Illinois Secretary of State Inspector General's Office {(217) 785-2012 or (630) 424-2564} or the Department of Human Rights
{Chicago office: (312) 814-6200 or Springfield office (217) 785-5100}. Whistleblower protections are also available under the
Illinois Whistleblower Act and the Illinois Human Rights Act.




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For California Employees and Their Supervisors:

California state law requires employers to distribute to employees in California certain information about sexual
harassment. This information is available on the brochure titled "Sexual Harassment: The Facts About Sexual Harassment"
(DFEH-185) and is available at
http://www.dfeh.ca.gov/wp-content/uploads/sites/32/2017/06/DFEH SexualHarassmentPamphlet.pdf. Please note
that all California employees and their supervisors are required to access this brochure and review the information.

Supervisors, managers, co-workers and third parties are prohibited from engaging in unlawful behavior under the
California Fair Employment and Housing Act.

California employees or job applicants who believe that they have been sexually harassed may file a complaint with the
California Department of Fair Employment and Housing (DFEH) within one year of the alleged harassment. For more
information, contact the DFEH toll free at (800) 884-1684, Sacramento and out of state at (916) 478-7200, or TIY at (800)
700-2320. You may also contact the DFEH via email at contact.center@dfeh.ca.gov or visit the DFEH's Web site at
http://www.dfeh.ca.gov/.

California law requires employers to provide employees notice of their rights and obligations under the Fair Employment
and Housing Act with respect to pregnancy, childbirth, and related medical conditions. This information is available in
Notice B, "Family Care and Medical Leave and Pregnancy Disability Leave" and is available at

https://www.dfeh.ca.gov/wp-content/uploads/sites/32/2017 /06/RightsObligationsPregnantEe ENG.pdf. Please note
that all California employees and their supervisors are required to access this notice and review the information.

Frequently Asked Questions

Your Responsibility as an Employee and/or Supervisor

Q. Are all AT&T employees responsible for ensuring their actions are conducted in accordance with AT&T's Equal
Employment Opportunity (EEO) and Harassment Policies?

A. Yes. Failure to comply with these policies may result in disciplinary action, which can include dismissal even for a first
offense. Supervisors are responsible for ensuring the work environment is free of unlawful discrimination and harassment.

Q. If you believe you have been subjected to unlawful discrimination, harassment, and/or retaliation or have knowledge of
conduct prohibited under the Policy, are you responsible for reporting the matter?

A. Yes. We are all responsible for speaking up if we believe that someone at AT&T has violated the EEO and Harassment
policies. If a manager observes or receives any reports or allegations of conduct which could potentially violate the EEO
and Harassment policies, the manager has a responsibility to report it immediately to Human Resources or the AT&T
Hotline.

Non-Retaliation Policy

Q. Are employees who raise concerns or who participate in an internal investigation protected from retaliation?

A. Yes. Any individual who seeks advice, raises a concern, or reports an EEO concern is following the EEO and Harassment
Policies. AT&T will not tolerate retaliation against such a person.

Internal Investigations

Q. Are employees guaranteed complete confidentiality or anonymity?


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A. Investigators will maintain confidentiality or anonymity to the extent allowable by law and where the confidentiality
and anonymity does not impede the integrity of the investigation.




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Sexual and Other Harassment

Q. Is it okay for a supervisor and a subordinate to have a close personal relationship or a dating relationship?

A. No. Any dating relationship or close personal relationship within the chain of command is prohibited. This also includes
a supervisor who has influence over an employee's work, productivity, or terms and conditions of employment. Failure to
report the relationship immediately is a violation of the policy.

Q. Can sexual harassment occur between individuals of the same sex?

A. Yes. Sexual harassment can happen between individuals of the same sex as well as the opposite sex.

Q. Are jokes about sex, race, age, religion, ethnicity, or any other jokes made at the expense of others appropriate in the
work place?

A. No. Jokes made at the expense of any person or class of persons are prohibited.

Disability

Q. Does AT&T accommodate disabilities?

A. Yes. It is AT&T's policy to provide reasonable accommodations to qualified employees with disabilities when medical
restrictions preclude them from performing an essential function of their current or desired job, unless the
accommodation poses an undue business hardship for AT&T.




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GAGE DECLARATION
   EXHIBIT 34
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        Job Key                                   Job Title                               FLSA             Level             Year
       24601109                               Director of Sales                             E                3              2017
 Job Description

Overall Purpose: Directs teams led by Area Retail Sales Managers to manage the Retail Stores in a defined territory. Key Roles and
Responsibilities: Responsible for successfully achieving sales, revenue targets, and customer satisfaction within assigned geographical
area and customer base. Responsible for hiring, coaching, and development within his/her territory. The territory can consist of a
region or a densely populated market. Overall leadership of sales team to include, but not limited to, staffing/retention, team
development, performance and compensation management. Education: Bachelors or Advanced degree preferred. Experience:
Typically requires 10 or more years of experience and at least two years of management responsibility. Sales Management experience
preferred. Supervisory: Yes.




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 HR.LSO.8252.001 Training History
 Completion Date
 Completion Status
 Course (Session) Number
 Course Object Type
 Course Type Name
 Learner Name
 Key Figures

                                                                            Course Type    Course Type   Course (Session) Completion               Training
Completion Date   Learner Name   Course Type Name                                                                                          Score
                                                                            Abbreviation   Number        Number           Status                   Hours
 11/10/2017        ALISON RAY     Protecting and Understanding CPNI-ML       M-PRD0580      61775931      #                 Satisfactory    90.000     0.310
 11/10/2017        ALISON RAY     FLSA Supervisor/Manager Wage and Hour      SUPWH          61391805      61432784          Satisfactory   100.000     0.550
 11/10/2017        ALISON RAY     Policy Review EEO and Harassment           POL_EEO17      61873233      #                 Satisfactory               0.250

 10/19/2017        ALISON RAY     myCOACH:Coaching&Accountability-Leaders    MCD200         61951842      61979461          Satisfactory              0.450

 10/16/2017        ALISON RAY     Win the Neighborhood                       PRD557         61758195      61761951          Satisfactory              0.083
 10/02/2017        ALISON RAY     Ethics@Work for Managers                   EAWM17         61878786      #                 Satisfactory              0.750
 08/27/2017        ALISON RAY     Virtual Job Shadow                         VRTJBSDW       61865545      #                 Satisfactory
 08/05/2017        ALISON RAY     Helping Others Embrace Change              MDHOEC11       60611018      61403208          Satisfactory              1.983
 08/05/2017        ALISON RAY     Delegating to Get Results                  MDDTGR11       60612230      61404258          Satisfactory              1.000
 08/05/2017        ALISON RAY     2020 Ldrshp, Innv, & Comm - Mgr/Dir        2020LICMGR     61865546      #                 Satisfactory
 08/05/2017        ALISON RAY     eReading from Executives                   ERDNGEXC       61865543      #                 Satisfactory
 08/04/2017        ALISON RAY     Value of Coaching Workshop                 LACVALWKSHP    61825134      61888661          Satisfactory              8.000
 08/03/2017        ALISON RAY     Selling Entertainment Retail CE            PRD8000CE      61873246      61888827          Satisfactory              8.000
 07/27/2017        ALISON RAY     Entertainment & Content Fundamentals       ENTCONTFUN     61838979      61863017          Satisfactory              0.333
 07/27/2017        ALISON RAY     DIRECTV NOW                                DTVNOW100      61853153      61901987          Satisfactory              0.200
 07/27/2017        ALISON RAY     DIRECTV Equipment (Residential)            DTVRESEQMT     61885510      61918826          Satisfactory              0.383
 07/27/2017        ALISON RAY     DIRECTV Programming Residential            DTVRESPRGM     61887851      61937720          Satisfactory    11.000    0.300
 07/27/2017        ALISON RAY     Mobile Advantage (Residential)             DTVRESMBAV     61891226      61905857          Satisfactory    75.000    0.367
 07/27/2017        ALISON RAY     Broadband Advantage (Residential)          DTVRESBBAV     61891228      61944833          Satisfactory    40.000    0.233
 07/27/2017        ALISON RAY     DIRECTV National Offer (Residential)       DTVRESNOMT     61894428      61933357          Satisfactory    50.000    0.500


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                                                                             Course Type     Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                            Score
                                                                             Abbreviation    Number        Number           Status                     Hours
 07/27/2017        ALISON RAY     Strategic Collaboration                     STRGCOLB        61865445      #                 Satisfactory                 1.000
 07/25/2017        ALISON RAY     Digital Transformation                      DIGFIRSTR       61838977      61860626          Satisfactory                 0.533
 07/25/2017        ALISON RAY     AT&T 5G and Fiber Connectivity              FIBR5G          61848070      61863668          Satisfactory                 0.667
 07/21/2017        ALISON RAY     Compliance and AT&T Customers-ML            M-CMPATTCST1    61892078      #                 Satisfactory                 0.120
 07/21/2017        ALISON RAY     Sales Integrity_Retail-ML_EXT               M-SIR2017E      61905479      #                 Satisfactory                 0.150

 06/21/2017        ALISON RAY     AT&T Refunds for 3rd Party Charges 16-ML    M-REF301        61505854      #                 Satisfactory                0.250

 06/21/2017        ALISON RAY     Performance Development                     PDLOTC17        61804242      #                 Satisfactory                1.500
 06/20/2017        ALISON RAY     Employee Resource Groups                    ERGSATT         61417383      61554595          Satisfactory    93.000      0.567
 06/19/2017        ALISON RAY     Every Voice Matters                         EVYVM           61762206      61775419          Satisfactory                0.383
 06/19/2017        ALISON RAY     Additional Hours-Making Right Choices       AHMRC           61860580      61877920          Satisfactory                0.133
 05/17/2017        ALISON RAY     2017 LwD General Managers Virtual           LWDGM17V        61788743      #                 Satisfactory
 05/11/2017        ALISON RAY     Provisioning Connected Car in Retail        PRVCCRTL        61846630      61862871          Satisfactory    80.000      0.400
 02/09/2017        ALISON RAY     What to Expect in a Work Stoppage           W2EXPECT        61376326      61463048          Satisfactory   100.000      0.533
 01/10/2017        ALISON RAY     AT&T Code of Business Conduct 2017          COBC17          61764799      #                 Satisfactory
 10/02/2016        ALISON RAY     mLearning Legal Disclaimer (d.1216)-ML      M-LEGAL16V2     61704440      #                 Satisfactory                0.010
 09/29/2016        ALISON RAY     Setting Up a Smartphone-ML                  M-PRD532        61548932      #                 Satisfactory   100.000      0.190
 09/29/2016        ALISON RAY     System Access Hot Button - ML               M-PRD547        61596043      #                 Satisfactory   100.000      0.080
 09/29/2016        ALISON RAY     iPhone 7/iPhone 7 Plus-ML                   M-PRD548        61692221      #                 Satisfactory                0.270
 09/29/2016        ALISON RAY     Apple Watch-ML                              M-PRD549        61692223      #                 Satisfactory                0.270

 09/29/2016        ALISON RAY     Your Actions Matter Our Most Valued Asse    M-RET1300       61549618      #                 Satisfactory                0.440

 09/29/2016        ALISON RAY     Great Coaching                              LIQSLA14        61289631      61305052          Satisfactory                0.383
 09/29/2016        ALISON RAY     Leading People HMM v12                      HMMV1222        61434248      #                 Satisfactory
 09/29/2016        ALISON RAY     AT&T - The Integrated Provider              CLO001          61512594      61551725          Satisfactory                0.083
 09/23/2016        ALISON RAY     Records and Info Management                 RIMINFO         61538393      #                 Satisfactory
 08/16/2016        ALISON RAY     Comp 2016 Asst and Acknowledge              PRD529          61525373      61537952          Satisfactory                0.017
 07/19/2016        ALISON RAY     Leaders New to National Retail              NRTNEW800       61593134      61603684          Satisfactory                4.000
 07/13/2016        ALISON RAY     Leaders New to AT&T Retail                  RETNEW800       61592266      61597391          Satisfactory                4.000
 06/30/2016        ALISON RAY     Issuing Bill Credits in OPUS-ML             M-BCOPUS100     61586866      #                 Satisfactory                0.180
 06/27/2016        ALISON RAY     Billing Inquire Billing Adjustment-ML       M-BIBA_AR100    61586865      #                 Satisfactory    90.000      0.340



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                                                                             Course Type    Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                           Score
                                                                             Abbreviation   Number        Number           Status                     Hours
 06/27/2016        ALISON RAY     Mobility Credit Guidelines-ML               M-MCG100       61248052      #                 Satisfactory    88.000       0.160
 06/27/2016        ALISON RAY     Merchandising Systems & Tools-ML            M-MERCH02      61523740      #                 Satisfactory   100.000       0.950
 06/27/2016        ALISON RAY     Merchandising Resets-ML                     M-MERCH03      61524904      #                 Satisfactory                 0.400
 06/27/2016        ALISON RAY     Ergonomics in Retail Stores Review-ML       M-RCT1307      61476776      #                 Satisfactory    80.000       0.220
 06/27/2016        ALISON RAY     Store Visits for Directors                  RET498         61380491      61425080          Satisfactory   100.000       0.250
 06/27/2016        ALISON RAY     CSM Corporate Policy Review                 POL_CSM16      61582120      #                 Satisfactory
 06/08/2016        ALISON RAY     Leading with Distinction General Manager    LWDGM          61533759      61538143          Satisfactory
 06/05/2016        ALISON RAY     Policy Review Insider Trading               POL_INSTRD     61580427      #                 Satisfactory
 05/19/2016        ALISON RAY     Merchandising Basics-ML                     M-MERCH01      61523545      #                 Satisfactory   100.000      0.340
 05/19/2016        ALISON RAY     Non-Barg Surplus Notification Process       NB-SNP         60565696      60607732          Satisfactory    90.000      0.483
 05/18/2016        ALISON RAY     EH&S Orientation for New Employees-US       EHS_OR_US      61289390      61308091          Satisfactory   100.000      0.033
 05/03/2016        ALISON RAY     Policy Review Corporate Accessibility       POL_TEC16      61518330      #                 Satisfactory                0.250
 04/26/2016        ALISON RAY     Job Accommodation Trng for Supervisor       JOBACCSUP      60597823      61179058          Satisfactory                0.483
 04/14/2016        ALISON RAY     Report Privacy Incidents Policy Review      POL_RPI16      61548947      #                 Satisfactory                0.250
 04/01/2016        ALISON RAY     Box Cutter Safety Acknowledgement-ML        M-PRD528       61512598      #                 Satisfactory                0.010
 04/01/2016        ALISON RAY     2016 - Indirect Internal Comp ACK-ML        M-PRD533       61539182      #                 Satisfactory                0.030
 04/01/2016        ALISON RAY     EH&S Office & Retail Overview for US        OVERUS         60874350      60881516          Satisfactory                0.150
 04/01/2016        ALISON RAY     Global Anti-Bribery and FCPA                GABC_FCPA      61345602      61534288          Satisfactory   100.000      0.600
 04/01/2016        ALISON RAY     AT&T Refunds for 3rd Party Charges 16       REF301         61505856      61516560          Satisfactory                0.200
 03/06/2016        ALISON RAY     Preventing Fraud R-ML                       M-FR114R       61510166      #                 Satisfactory    90.000      0.300
 03/06/2016        ALISON RAY     mLearning Legal Disclaimer(d. 0616)-ML      M-LEGAL16      61505271      #                 Satisfactory                0.010
 02/29/2016        ALISON RAY     Disability Awareness Training R-ML          M-DISARR       61511159      #                 Satisfactory                0.040
 02/29/2016        ALISON RAY     CPNI and Social Engineering R-ML            M-RT356R       61510165      #                 Satisfactory    92.000      0.740
 02/20/2016        ALISON RAY     AT&T Code of Business Conduct 2016          COBC16         61497458      #                 Satisfactory
 02/11/2016        ALISON RAY     LaC 3.0 for Market Leaders                  RET9611        61498401      61519052          Satisfactory                8.000
 01/30/2016        ALISON RAY     AT&T EEO and Harassment Policies            EEOHAR         61143191      61160366          Satisfactory                0.100
 01/30/2016        ALISON RAY     AT&T Emergency Preparedness Training        EMPREP         61482818      61511333          Satisfactory                0.217
 10/05/2015        ALISON RAY     Diversity-Many Backgrounds - One Focus      DIVERS_MB      60269198      61022166          Satisfactory                0.417
 09/24/2015        ALISON RAY     NPW Policy Training For AT&T Managers       NPWPOLICY      60675403      61213878          Satisfactory   100.000      0.533
 09/22/2015        ALISON RAY     NPI 2015 Recorded - ML                      M-RET7472      61436006      #                 Satisfactory                0.550
 08/28/2015        ALISON RAY     Policy Review Annual Compliance Video       POL_COMVT      61412348      #                 Satisfactory



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                                                                            Course Type    Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                          Score
                                                                            Abbreviation   Number        Number           Status                     Hours
 08/23/2015        ALISON RAY     mLearning Legal Disclaimer(d.1215)-ML      M-LEGAL15V2    61405912      #                 Satisfactory
 08/23/2015        ALISON RAY     AT&T Refunds for Third-Party Charges-ML    M-REF201       61405272      #                 Satisfactory
 08/19/2015        ALISON RAY     Leading with Distinction 2015 (GM)         LWD2015GM      61308068      61386038          Satisfactory
 08/09/2015        ALISON RAY     Offer & Activating Video Solutions-ML      M-PRD513       61340693      #                 Satisfactory   100.000      0.300
 07/30/2015        ALISON RAY     Antitrust and Competition v3               ANTTR          61368314      61379228          Satisfactory                0.533
 07/29/2015        ALISON RAY     Foster Inclusion Part 1                    FOSTERPT1      61100163      61149601          Satisfactory   100.000      0.133
 07/29/2015        ALISON RAY     Foster Inclusion Part 2                    FOSTERPT2      61100164      61149630          Satisfactory   100.000      0.067
 07/28/2015        ALISON RAY     Whitespace Construction Punch-1            DLR444         61399676      #                 Satisfactory
 07/22/2015        ALISON RAY     Policy Review Rpt On and Off Duty          POL_ONOFF      61384426      #                 Satisfactory                0.250
 06/19/2015        ALISON RAY     AccessMyLAN-ML                             M-RET1523      61048313      #                 Satisfactory                0.120
 06/19/2015        ALISON RAY     Fan Search Tool (FaST)_ML                  M-RET1524      61065518      #                 Satisfactory    80.000      0.320
 06/19/2015        ALISON RAY     Vantiv Mobile Payment Solution _ML         M-RET1525      61185533      #                 Satisfactory                0.120
 06/19/2015        ALISON RAY     Business in Retail Basics_ML               M-RET1530      61065521      #                 Satisfactory    80.000      0.110
 06/19/2015        ALISON RAY     IRU Selling Skills_ML                      M-RET1531      61065520      #                 Satisfactory   100.000      0.130
 06/19/2015        ALISON RAY     CRU Selling Skills_ML                      M-RET1532      61065519      #                 Satisfactory   100.000      0.090
 06/19/2015        ALISON RAY     Enterprise CRU Retail Support_ML           M-RET1533      61293803      #                 Satisfactory   100.000      0.210
 06/03/2015        ALISON RAY     2015 AT&T Next Enhancements - ML           M-PRD515       61345433      #                 Satisfactory                0.250
 06/03/2015        ALISON RAY     Employee Resource Groups                   ERGSATT_       60817773      60982651          Satisfactory   100.000      1.217
 06/02/2015        ALISON RAY     Business Expert Assessment                 BEXP100        61345429      61352119          Satisfactory    90.000      0.533
 05/27/2015        ALISON RAY     #connected - Solutions RAE/ARSMi           DLR5982        61315839      61325903          Satisfactory                3.500
 05/27/2015        ALISON RAY     Sales and Marketing Guidelines 2015        POL_SMG15      61355658      #                 Satisfactory
 05/18/2015        ALISON RAY     GoPhone for Non-Exclusive Dealers-ML       M-IND250       61336532      #                 Satisfactory                0.080
 05/18/2015        ALISON RAY     mLearning Legal Disclaimer(d.0615)-ML      M-LEGAL15V1    61345686      #                 Satisfactory
 05/18/2015        ALISON RAY     Introducing Plenti -ML                     M-PRD509       61316641      #                 Satisfactory    80.000      0.160
 05/13/2015        ALISON RAY     Foreign Corrupt Practices Act v2           FCPA2          60245544      60885060          Satisfactory                0.950
 04/15/2015        ALISON RAY     Gifts Intl Policy Review                   POL_GFIN       61327370      #                 Satisfactory
 04/13/2015        ALISON RAY     FLSA - Supervisor Review                   FLSA_SUP2      60078339      60360627          Satisfactory   100.000      1.683
 04/06/2015        ALISON RAY     2015_TU_Presents_Virtual                   VMSW2V15       61227184      #                 Satisfactory
 04/06/2015        ALISON RAY     Policy Review Mobile Device Security       POL_MDS        61285792      #                 Satisfactory                0.250
 04/06/2015        ALISON RAY     Third Party Supplier Survey                POL_TPS        61320373      #                 Satisfactory
 03/30/2015        ALISON RAY     OPUS Top Transactions for Dealers          DLR3003        61159414      61340068          Satisfactory    90.000      0.450



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                                                                           Course Type    Course Type   Course (Session) Completion                Training
Completion Date   Learner Name   Course Type Name                                                                                          Score
                                                                           Abbreviation   Number        Number           Status                    Hours
 03/26/2015        ALISON RAY     Protecting CPNI and Social Engineering    RCT356         60032887      61074150          Satisfactory    100.000     0.417
 03/12/2015        ALISON RAY     AT&T EEO and Harassment Policies-MLd      M-EEOHRS       61149116      #                 Satisfactory                0.070
 02/25/2015        ALISON RAY     AT&T Code of Business Conduct 2015-ML     M-COBC15       61277156      #                 Satisfactory                0.030
 02/25/2015        ALISON RAY     Emergency Preparedness Ep 1 -Mld          M-EPREP1       61252948      #                 Satisfactory                0.190
 02/25/2015        ALISON RAY     Emergency Preparedness Ep 2 -Mld          M-EPREP2       61253075      #                 Satisfactory                0.160
 02/25/2015        ALISON RAY     Emergency Preparedness Ep 3 -Mld          M-EPREP3       61253085      #                 Satisfactory                0.130
 02/25/2015        ALISON RAY     Emergency Preparedness Ep 4 -Mld          M-EPREP4       61253086      #                 Satisfactory                0.160
 02/25/2015        ALISON RAY     Preventing Fraud-ML                       M-FRA114       61211952      #                 Satisfactory     90.000     0.140
 02/25/2015        ALISON RAY     Social Engineering Awareness-MLd          M-LO747        60965550      #                 Satisfactory                0.110
 02/25/2015        ALISON RAY     PCI Awareness Training - Module 1-MLd     M-PCIDSS       61175502      #                 Satisfactory                0.120
 02/25/2015        ALISON RAY     Records & Info Mgmt Awareness-MLd         M-RIMAWR       61005547      #                 Satisfactory                0.200
 02/17/2015        ALISON RAY     Policy Review Accessibility Complianc     POL_TEC15      61307241      #                 Satisfactory
 02/10/2015        ALISON RAY     LaC 2.0 for Market Leaders                RET0955        61269397      61305979          Satisfactory
 01/15/2015        ALISON RAY     My phone is my...                         RET505         61262684      61289866          Satisfactory    100.000     0.250
 09/09/2014        ALISON RAY     Foreign Corrupt Practices Act Policy      POL_FCPA4      61209128      #                 Satisfactory                0.250
                                                                                                                           Completed -
 08/22/2014        ALISON RAY     Compliance Training for Managers          POL_MGRCO      61184762      #
                                                                                                                           Acknowledged/
 07/25/2014        ALISON RAY     EH&S Office & Retail Overview for US      OVERUS         60874350      60881516          Satisfactory                 0.567
 07/22/2014        ALISON RAY     Selling Fire (Recorded) Assessment        L2-PRD492      61215605      #                 Satisfactory     90.000      0.060
 07/22/2014        ALISON RAY     Introducing Fire                          PRD490         61140777      61177919          Satisfactory     80.000      0.100
 07/22/2014        ALISON RAY     Selling Fire (Recorded)                   PRD492         61145982      61189406          Satisfactory                 1.217
 07/21/2014        ALISON RAY     AT&T Multi-DeviceProtectionPack_LD-ML     M-IND479       61168994      #                 Satisfactory     90.000   #######
 07/21/2014        ALISON RAY     mLearning Legal Disclaimer(d.1214)-ML     M-LEGAL14V2    61192504      #                 Satisfactory    100.000     21.000
 07/21/2014        ALISON RAY     2014 EH&S Plan Overview - ML              M-PLAN14       61159605      #                 Satisfactory
 07/21/2014        ALISON RAY     MDPP - Limited Lines - ML                 M-PRD482       61169703      #                 Satisfactory            324.000
 06/30/2014        ALISON RAY     Even Better Together-ML                   M-EBT101       61160738      #                 Satisfactory    100.000 932.000
 06/30/2014        ALISON RAY     AT&T EEO and Harassment Policies-MLd      M-EEOHRS       61149116      #                 Satisfactory            252.000
 06/10/2014        ALISON RAY     My Time Refresher Supervisors             POL_MTS14      61149925      #                 Satisfactory              0.250
 05/19/2014        ALISON RAY     Job Accomm for Supervisors Refresher      POL_JBACC      61149644      #                 Satisfactory              0.250
 05/15/2014        ALISON RAY     LwD - Execute for Excellence 2020         E4E2020GM      61042092      61048314          Satisfactory
 05/12/2014        ALISON RAY     GM LwD 2020 Vision (Recorded)             GM2020VR       60990608      #                 Satisfactory
 05/12/2014        ALISON RAY     GM LwD Innovator's DNA (Recorded)         GMIDNAR1       60992246      #                 Satisfactory



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                                                                           Course Type    Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                         Score
                                                                           Abbreviation   Number        Number           Status                     Hours
 05/12/2014        ALISON RAY     GM LwD Innovator's DNA (Recorded)         GMIDNAR2       60992300      #                 Satisfactory
 04/21/2014        ALISON RAY     Payment Card Industry (PCI) Policy        POL_PCI14      61080098      #                 Satisfactory             0.250
 04/15/2014        ALISON RAY     AT&T Code of Business Conduct 2014-ML     M-COBC14       61049155      #                 Satisfactory            58.000
 04/15/2014        ALISON RAY     Disability Awareness Training-MLd         M-DISAWR       60975379      #                 Satisfactory           624.000
 04/15/2014        ALISON RAY     Emergency Preparedness - ML               M-EPREP        60832188      #                 Satisfactory   100.000 131.000
 04/15/2014        ALISON RAY     mLearning Legal Disclaimer(d.0714)-ML     M-LEGAL14V1    61059708      #                 Satisfactory            18.000
 04/15/2014        ALISON RAY     Snapshot-ML                               M-RET126       60975970      #                 Satisfactory           651.000
 04/15/2014        ALISON RAY     Dealer Compensation Overview              IND115         61061861      61108408          Satisfactory             0.067
 04/15/2014        ALISON RAY     Sales and Marketing Guidelines 2014       POL_SLMKT      61080095      #                 Satisfactory
 04/14/2014        ALISON RAY     Data Management Policy                    POL_DMGT       61110765      #                 Satisfactory
 03/30/2014        ALISON RAY     Antitrust Policy                          POL_ANTIT      61079095      #                 Satisfactory
 03/28/2014        ALISON RAY     Retail mLearning Acknowledgement - ML     M-PRD478       61079725      #                 Satisfactory            13.000
 03/28/2014        ALISON RAY     Protecting CPNI and Social Engineering    RCT356         60032887      61074150          Satisfactory    92.000   0.133
 03/26/2014        ALISON RAY     Sales Compensation 2014 ACK - Indirec     M-ACK855       61074241      #                 Satisfactory   100.000 514.000
 03/20/2014        ALISON RAY     Motivate to Engage                        MOT2ENG        61030637      61032963          Satisfactory             9.000
 03/01/2014        ALISON RAY     OP123                                     POL_OP123      61084561      #                 Satisfactory
 02/27/2014        ALISON RAY     Inspired & Engaged Training 2014 T3       RET9231        61058960      61076050          Satisfactory                1.000
 02/18/2014        ALISON RAY     Emergency Preparedness                    EMPREP_US      60815857      61046766          Satisfactory   100.000      0.067
 02/14/2014        ALISON RAY     Accessibility Compliance Policy           POL_TEC14      61071524      #                 Satisfactory
 02/06/2014        ALISON RAY     Fraud Prevention                          TC_FRA113      60127026      60459771          Satisfactory   100.000      0.700
 02/06/2014        ALISON RAY     Seeding Acknowledgment WBT                NRT214         61042765      61049991          Satisfactory   100.000      0.017
 02/05/2014        ALISON RAY     Social Media Policy                       POL_SOCP4      61064256      #                 Satisfactory
 02/04/2014        ALISON RAY     Lead by Example: Be Proactive             RET5020        61054004      61055109          Satisfactory             0.117
 12/06/2013        ALISON RAY     AT&T Mobile Share Value Plans             PRD472         60999671      61034400          Satisfactory   100.000   0.267
 12/05/2013        ALISON RAY     mLearning Legal Disclaimer(d.1213)-ML     M-LEGAL13V2    60971798      #                 Satisfactory            18.000
 10/31/2013        ALISON RAY     I&E mLearning 1-ml                        M-PRD429       60907800      #                 Satisfactory           200.000
 10/31/2013        ALISON RAY     I&E mLearning 2                           M-PRD430       60912088      #                 Satisfactory           306.000
 10/31/2013        ALISON RAY     I&E mLearning 3                           M-PRD431       60912089      #                 Satisfactory            45.000
 10/31/2013        ALISON RAY     FLSA - Supervisor Review                  FLSA_SUP2      60078339      60360627          Satisfactory   100.000   2.750
 10/30/2013        ALISON RAY     MyTime - Mgrs of Non-Exempt Emp v6        TC_MYT215      60340329      60364126          Satisfactory    81.000   1.200
 10/24/2013        ALISON RAY     Leaders as Coaches for Directors          RET950         60953507      60978810          Satisfactory            23.500



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                                                                           Course Type    Course Type   Course (Session) Completion                   Training
Completion Date   Learner Name   Course Type Name                                                                                           Score
                                                                           Abbreviation   Number        Number           Status                       Hours
 09/29/2013        ALISON RAY     Sales and Marketing Guidelines            POL_SMG13      60926731      #                 Satisfactory
 09/17/2013        ALISON RAY     Inspired & Engaged Leadership Skills      PRD413         60840339      60939463          Satisfactory                  3.000
 08/19/2013        ALISON RAY     2013 Compliance for Sr. Leadership        COMPL2013      60871807      60920602          Satisfactory                  0.017
 08/05/2013        ALISON RAY     Disability Awareness Video                RCT1305        60835179      60935361          Satisfactory      73.000      0.417
 08/01/2013        ALISON RAY     Woking with Suppliers Policy 2013         POL_WWS13      60938545      #                 Satisfactory
 07/30/2013        ALISON RAY     Sales Comp 2013 ACK                       ACK852         60900103      60934129          Satisfactory     100.000      0.133
 07/23/2013        ALISON RAY     Hazard Communication - GHS Coverage       HZCMGHS        60817772      60893941          Satisfactory     100.000      0.500
 07/15/2013        ALISON RAY     Digital Life for Dealer Internals         DLR379         60831458      60925487          Satisfactory                  8.000
 07/12/2013        ALISON RAY     Digital Life for Retail Overview          PRD377         60745418      60826415          Satisfactory                  0.283
 07/11/2013        ALISON RAY     Fraud Prevention                          TC_FRA113      60127026      60459771          Satisfactory     100.000      0.717
 06/25/2013        ALISON RAY     LwD5: G2E for General Managers            LWD5GM         60873911      60899377          Satisfactory                 10.250
 05/31/2013        ALISON RAY     Sponsorships Memberships (CSM) Policy     POL_13CSM      60909953      #                 Satisfactory
 05/28/2013        ALISON RAY     C&C Audit Essentials                      IND310         60839620      60880408          Satisfactory     100.000      0.150
 05/28/2013        ALISON RAY     Introduction to C&C Audit Strategy        IND309         60872611      60881631          Unsatisfactory                0.200
 05/23/2013        ALISON RAY     Job Accommodations for Supervisors        POL_JOBAC      60907430      #                 Satisfactory
 05/01/2013        ALISON RAY     Planning the eNPS Discussion              ENPSPLAN       60873188      60896174          Satisfactory                  0.200
 05/01/2013        ALISON RAY     Conducting the eNPS Discussion            ENPSCON        60873191      60877169          Satisfactory                  0.233
 04/29/2013        ALISON RAY     Mobile Insight Report Builder Update      NRT_270        60833572      60857193          Satisfactory     100.000      0.767
 04/28/2013        ALISON RAY     Protecting CPNI and Social Engineering    RCT356         60032887      60664253          Satisfactory      92.000      0.550
 04/28/2013        ALISON RAY     Job Accommodation Trng for Supervisor     JOBACCSUP      60597823      60605210          Satisfactory                  0.267
 04/26/2013        ALISON RAY     Ergonomics for the Office                 ERGOOFF        60806100      60823787          Satisfactory      90.000      0.250
 03/27/2013        ALISON RAY     Selling BlackBerry 10                     PRD409         60845692      60864157          Satisfactory
 03/25/2013        ALISON RAY     Emergency Preparedness                    EMPREP_US      60815857      60840809          Satisfactory     100.000      0.017
 03/25/2013        ALISON RAY     Account Level CSS                         RET4111        60845441      60874730          Satisfactory                  0.117
 03/24/2013        ALISON RAY     Conflict of Interest 2013                 POL_COI13      60835587      #                 Satisfactory
 02/19/2013        ALISON RAY     AT&T Code of Business Conduct 2013        COBC13         60817766      60820802          Satisfactory                  0.050
 01/25/2013        ALISON RAY     Accessibility Compliance                  POL_TECHA      60839674      #                 Satisfactory                  0.250
 01/14/2013        ALISON RAY     AT&T Enhanced Push to Talk                PRD403         60810756      60827840          Satisfactory      90.000      0.267
 10/24/2012        ALISON RAY     Inspired & Engaged 2012                   RET9297        60686414      60734436          Satisfactory                  3.000
 10/16/2012        ALISON RAY     Protecting CPNI and Social Engineering    RCT356         60032887      60664253          Satisfactory      92.000      0.933
 10/16/2012        ALISON RAY     Asset Registration Policy 2012            POL_ASTRG      60782195      #                 Satisfactory



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                                                                             Course Type    Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                           Score
                                                                             Abbreviation   Number        Number           Status                     Hours
 10/04/2012        ALISON RAY     Corporate Memberships (CSM) Policy          POL_CSM12      60778508      #                 Satisfactory
 09/28/2012        ALISON RAY     Our Inspired & Engaged Culture              RET9290        60729828      60773400          Satisfactory    80.000      0.433
 09/24/2012        ALISON RAY     Working With Suppliers Policy 2012          POL_WSPL2      60667488      #                 Satisfactory
 09/19/2012        ALISON RAY     Be an MVP with MPP!                         DLR1050        60743991      60770072          Satisfactory   100.000      0.683
 08/21/2012        ALISON RAY     Agent National Retail Training              ANR100         60086781      60111031          Satisfactory   100.000      0.167
 08/20/2012        ALISON RAY     Sales Marketing Guideline Policy 2012       POL_SMG12      60756042      #                 Satisfactory
 08/08/2012        ALISON RAY     AT&T Mobile Share                           PRD365         60675404      60750587          Satisfactory    90.000      0.167
 07/26/2012        ALISON RAY     Mobile Insight for the Advanced User        MOBINSADV      60673847      60707323          Satisfactory    80.000      0.683
 07/09/2012        ALISON RAY     CSO Approver Reviewer Training              CSOAPRVRV      60435285      60465317          Satisfactory                0.533
 06/13/2012        ALISON RAY     Leading with Distinction 4 GM               LWD4GM         60610790      60614102          Satisfactory               20.250
 05/16/2012        ALISON RAY     AT&T Wireless Home Phone                    PRD308         60589268      60681435          Satisfactory   100.000      0.517
 04/30/2012        ALISON RAY     Windows Phone OS Assessment                 L2-PRD324      60658194      #                 Satisfactory    80.000      0.210
 04/30/2012        ALISON RAY     HTC One X                                   PRD297         60658189      60682018          Satisfactory    88.000      0.367
 04/25/2012        ALISON RAY     OPS Assessment (COR)                        L2-PRD311      60651672      #                 Satisfactory    80.000      0.110
 04/24/2012        ALISON RAY     Offering Personalized Solutions             PRD311         60606841      60641218          Satisfactory                8.000
 04/23/2012        ALISON RAY     AT&T Voicemail Security                     PRD218         60090682      60090806          Satisfactory    90.000      0.200
 04/23/2012        ALISON RAY     2012 Compliance for Sr. Leadership          COMPL2012      60619405      60638336          Satisfactory                0.083
 04/23/2012        ALISON RAY     PDTS for Indirect Virtual ILV               IND2006        60635135      60655335          Satisfactory                2.000
 04/03/2012        ALISON RAY     Social Media Standards 2012                 POL_SM12       60631224      #                 Satisfactory

 03/27/2012        ALISON RAY     Helping Your Customer Choose a WP Device    PRD296         60630001      60672703          Satisfactory                0.367

 03/09/2012        ALISON RAY     Non Wired Indirect Compensation Assess      L2-PRD344      60638405      #                 Satisfactory   100.000      0.010
 03/09/2012        ALISON RAY     ATT Dealer Info Sharing                     IND723         60270173      60279608          Satisfactory   100.000      0.017
 03/09/2012        ALISON RAY     255 Disability Awareness Trng               SECT_255       60514554      60526817          Satisfactory                0.033
 03/09/2012        ALISON RAY     AT&T Code of Business Conduct 2012          COBC12         60595060      60600991          Satisfactory                0.083
 03/09/2012        ALISON RAY     PDTS Training for Indirects                 IND2002        60601328      60635502          Satisfactory    92.000      0.983

 02/27/2012        ALISON RAY     2012 Sales Commission Acknowledgement       ACK0800        60623517      60640910          Satisfactory   100.000      0.017

 02/23/2012        ALISON RAY     4G Speedway Wave 3 Assessment               L2_PRD319      60624583      60634626          Satisfactory    90.000      0.067
 02/23/2012        ALISON RAY     4G Speedway Wave 3 Recorded                 PRD318         60625311      60637030          Satisfactory                0.617
 02/23/2012        ALISON RAY     Samsung Galaxy Note                         PRD298         60627306      60632442          Satisfactory    80.000      0.067



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                                                                             Course Type    Course Type   Course (Session) Completion                 Training
Completion Date   Learner Name   Course Type Name                                                                                           Score
                                                                             Abbreviation   Number        Number           Status                     Hours
 02/14/2012        ALISON RAY     Northeast Region Indirect DOS               PRD358         60635409      60636732          Satisfactory                 1.000
 02/01/2012        ALISON RAY     Do Not Solicit                              POL_DNS        60618679      #                 Satisfactory
 01/26/2012        ALISON RAY     2012 MAPP Acknowledgement                   ACK2000        60612243      60614105          Satisfactory   100.000
 01/15/2012        ALISON RAY     Field Execution of the DSA New Hire         IND1005        60598639      60622227          Satisfactory                0.033
 01/10/2012        ALISON RAY     Emergency Preparedness Policy 2012          POL_EP12       60608407      #                 Satisfactory
 12/07/2011        ALISON RAY     Management Agreement                        POL_MGTAG      60594440      #                 Satisfactory
 11/18/2011        ALISON RAY     Leading an Extraordinary Experience         RET9900        60471541      60574626          Satisfactory                8.000
 10/25/2011        ALISON RAY     PDC Oct 2011 Enhancements                   DLR1110        60542985      60569332          Satisfactory    90.000      0.583

 09/26/2011        ALISON RAY     Compliance and Showroom Excellence Srvys    DLR413         60083958      60522122          Satisfactory   100.000      0.283

 09/26/2011        ALISON RAY     AT&T Voicemail Security                     PRD218         60090682      60090806          Satisfactory   100.000      0.183
 09/26/2011        ALISON RAY     Do Not Solicit for Dealers                  DLR198         60132738      60133320          Satisfactory   100.000      0.050
 09/26/2011        ALISON RAY     ATT Dealer Info Sharing                     IND723         60270173      60279608          Satisfactory   100.000      0.017

 09/26/2011        ALISON RAY     2011 Sales Commission Acknowledgement       ACK0700        60407230      60412851          Satisfactory   100.000      0.017

 09/26/2011        ALISON RAY     Selling Small Business Apps in Retail       RET537         60467896      60488274          Satisfactory   100.000      0.267
 09/26/2011        ALISON RAY     HTC Jetstream                               PRD278         60485195      60539655          Satisfactory    90.000      1.050
 09/26/2011        ALISON RAY     Windows Phone 7 Mango Update                PRD279         60517861      60551514          Satisfactory   100.000      0.683
 09/05/2011        ALISON RAY     4G Speedway Assessment                      L2_PRD301      60504460      60529953          Satisfactory    90.000      0.183
 09/01/2011        ALISON RAY     Working with Suppliers                      POL_WKSPL      60514799      #                 Satisfactory
 08/22/2011        ALISON RAY     4G Speedway (Live)                          PRD304         60496514      60500155          Satisfactory                8.000
 08/01/2011        ALISON RAY     Sales and Marketing Guidelines Policy       POL_SMGP       60518173      #                 Satisfactory
 07/05/2011        ALISON RAY     Global Travel & Expense Policy              POL_GTEP1      60500603      #                 Satisfactory
 06/22/2011        ALISON RAY     SPI/Financial Data 2011                     POL_SPI11      60480955      #                 Satisfactory
 06/14/2011        ALISON RAY     CES Training                                RET2000        60473036      60490666          Satisfactory   100.000      0.767
 05/30/2011        ALISON RAY     Social Media Policy 2011                    POL_SM11       60481574      #                 Satisfactory
 05/17/2011        ALISON RAY     LwD3 GM Driving Loyalty                     LWD3GMDL       60370111      60378539          Satisfactory               21.000
 05/10/2011        ALISON RAY     EH&S Office/Retail Annual Training          TC_EHSANN_O    60211420      60258298          Satisfactory                0.133
 05/10/2011        ALISON RAY     AT&T Privacy and Information Security       PRIVCYSEC      60438216      60465811          Satisfactory                0.233
 05/05/2011        ALISON RAY     Crucial Conversations                       MDCRUC108      51228619      60468354          Satisfactory
 04/27/2011        ALISON RAY     Protecting CPNI and Social Engineering      RCT356         60032887      60212618          Satisfactory   100.000      0.833



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                                                                           Course Type    Course Type   Course (Session) Completion                Training
Completion Date   Learner Name   Course Type Name                                                                                        Score
                                                                           Abbreviation   Number        Number           Status                    Hours

 04/27/2011        ALISON RAY     RIM/Electronic Communication Awareness    RIM_EC         60109598      60211925         Satisfactory                0.050

 04/26/2011        ALISON RAY     Ergonomics 101                            EHSERG101      51328000      60009581         Satisfactory   100.000      0.150
 04/26/2011        ALISON RAY     International Services Training           PRD048         60089229      60221593         Satisfactory   100.000      0.650
 04/26/2011        ALISON RAY     Do Not Solicit Acknowlegement Course      ACK104         60198594      60200183         Satisfactory   100.000      0.017
 04/26/2011        ALISON RAY     Antitrust and Competition Guidelines      ANTI_TRST      60273290      60434066         Satisfactory   100.000      0.083
 04/22/2011        ALISON RAY     Fraud Prevention                          TC_FRA113      60127026      60459771         Satisfactory   100.000      0.417
 04/19/2011        ALISON RAY     AT&T Code of Business Conduct 2011        TC_COBC11      60373963      60398998         Satisfactory                0.217
 03/17/2011        ALISON RAY     EEO and Harassment Policies               EEO_HAR        60239896      60258800         Satisfactory   100.000      0.050
 02/28/2011        ALISON RAY     EH&S Office/Retail Overview               TC_EHSOVR_O    60283376      60343650         Satisfactory                0.267




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